Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 1 of 97

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Carrie M. Leo,
Plaintiff,

-V-

New York State Department of Environmental
Conservation & the United States Department of .
Agriculture and the following INDIVIDUALS, in their Civil Action No. 6:2020cv07039
individual and official capacities: BASIL SEGGOS -
Commissioner, SONNY PERDUE - former Secretary;
WILLIAM POWELL -  Lieutenant/Captain, DEC
Division of Law Enforcement; JOSEPH THERRIEN -
Director, DEC Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector, TYLER
THOMAS, NICHOLAS STACEY, MICHAEL YOUNG,
ROBERT RENNIE, JEFFREY LOWE, LAUREN LOWE
and John/Jane Does 1-15,

 

Defendants.

Application For Order Directing Service by U.S. Marshal

L, Carrie M. Leo, plaintiff in the above-entitled action, hereby request an order of the court
directing the U.S. Marshals Service for the Western District of New York, pursuant to Fed.R.Civ.P.
4(c)(3), to serve the summons and complaint in this action. I am requesting such an order because
it is my understanding the named state and federal defendants involved in the case at bar may need
in-person service of process in order to consider service of the Summons and Complaint

effectuated. At least the NYS Attorney General requires in-person service of process.

Date: March 29, 2021 (ame

Carrie. Leo, Plaintiff pro se
3199 Walworth Road
Walworth, NY 14568

ph: (315) 538-8316

e-mail: carrieleol5@gmail.com

 
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3199 Walworth Road
Walworth, NY 14568
March 29, 2021

RE: Case #20-CV-7039

VIA USPS

Judge Frank P. Geraci, Jr.

U.S. District Court, Western District of New York
2 Niagara Square

Buffalo, NY 14202-3350

Dear Judge Geraci:

lam in receipt of the notice regarding inexecutable summons for the U.S. Attorney's Office for USDA staff
members.

| sincerely apologize for the mistakes made in providing the proper addresses for service. | respectfully
request another attempt through your office to serve the defendants who have not been served yet.
However before serving the defendants | would like to request an order from the Court.

| am very confused on how to proceed with serving the defendants. | have read the rules, the websites
of the state and federal agencies named in this action and private process servers and I've asked attorneys.
Conducting such research was done all the while | was doing my best to keep abreast of the constant
changes in the rules and changes mandated by the courts not only in this state but in two other states in
which | also have actions pending. The continual lessening and restricting nature of the rules in addressing
the Covid pandemic over the past year have made it especially difficult for a self-represented litigant such
as myself understand the overwhelming number of rules and mandates packed into the court's process.
Unfortunately, while taking these steps to accommodate the general requirement of due diligence or
making reasonable inquiry, I'm still just as confused now over how to serve the different parties as | was
before | conducted any research at all.

As a result, | request an order from the Court first, extending the time for serving process to all defendants
for at least 30 days as well as the Court's expectations regarding how each defendant is to be served
process as well as what papers constitute process at this stage of the case.

It's my understanding the summons and complaint is all that need to be served initially even though there
are other papers I've filed with the court. However, | would think any signed order should also be included
as well; hence the confusion. It's also my understanding every defendant must be served personally at
his or her residence or place of employment as well as served through their legal representative: the U.S.
Attorney for the defendants associated with the USDA and the Office of General Counsel for the
defendants associated with the NYS Department of Environmental Conservation. However, this becomes
confusing when there are defendants which do not have a listed residential address nor work address.
For instance, Andrea D'Ambrosio, an animal care inspector employed by the USDA-APHIS Animal Care
Unit, works from her home just as all animal care inspectors do. Therefore, for safety reasons presumably,
her residential address is not listed, and | don't want to concern her by any possible attempts of mine in
obtaining her home address. Although she technically is associated with an office of the USDA which has
a listed address, it is an office with purview over multiple states and thus is located in North Carolina. |
do not know if | should send process for Ms. D'Ambrosio to the North Carolina office and, if! do, should |

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Carrie M. Leo,
Plaintiff,

- V -

New York State Department of Environmental
Conservation & the United States Department of
Agriculture and the following INDIVIDUALS, in their
individual and official capacities: BASIL SEGGOS -
Commissioner, SONNY PERDUE - former Secretary;
WILLIAM POWELL -  Lieutenant/Captain, DEC
Division of Law Enforcement; JOSEPH THERRIEN -
Director, DEC Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector, TYLER
THOMAS, NICHOLAS STACEY, MICHAEL YOUNG,
ROBERT RENNIE, JEFFREY LOWE, LAUREN LOWE
and John/Jane Does 1-15,

Defendants.

ORDER

Upon receipt of a copy of this order, plaintiff is required to submit the certified

copy,marshal forms, summons and complaint to the U,S. Marshal for service upon named

defendants.

Pursuant to Fed.R.Civ.P. 4(c)(2), the U.S. Marshal is hereby directed to collect

their fee and serve the Summons and Complaint upon the following named

defendants.

Service is needed for all four state defendants through the New York State Attorney
General's Office. All four defendants are associated with the New York State Department
of Environmental Conservation and are as follows: Basil Seggos, Commissioner of NYS
Dept. of Environmental Conservation; William Powell, NYS Dept. of Environmental

Conservation Division of LawEnforcement; Joseph Therrien, NYS Dept. of Environmental

Conservation Special Licenses Unit.

 

Civil Action No.

20-cv-7039
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Service is also needed for each federal defendant; that is, USDA, Sonny Perdue -
Secretary and Andrea D'Ambrosio - Animal Care Inspector. All three defendants need

process served on them through the U.S. Attorney General as well as the U.S. Attorney.

SO ORDERED,

 

United States District Judge

Dated:

 
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U.S. Departinent of Justice PROCESS RECEIPT AND RETURN

 

 

United States Marshals Service See "Instructions for Service of Process by US. Marshal”
enna
PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
Summons

New York Department of Environmental Conservation & the United States Department of Agriculture .
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal
Care Inspector and *JohniJane Does #1-15

 

| NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

Basil Seggos, Commissioner; William Powell, Division of Law Enforcement; Joseph Therrien, Special
SERVE Licenses Unit and The New York State Department of Environmental Conservation

 

AT ¢€ ADDRESS (Street ov RFD. Avartnont No.. City. State avd ZIP Coda)

c/o New York State Office of the Attorney General
service in-person: Empire State Plaza, Justice Building, 2"¢ Floor, Albany, NY 12224
service by mail: The Capitol, Albany, NY 12224-0341

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo ‘Number of parties to be
3199 Walworth Road — case
eck for service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Avaitable for Service):

Hours of Operation: 9 A.M. to 5 P.M.
General Phone # (518) 776-2300

 

 
 

 

 

 

 

 

Signature of Attorney other Originator feqhesting service on behalf of: PL. TELEPHONE NUMBER DATE
xX [_] DEFENDANT (315) 538-8316 March 29, 2021
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
Tacknowledge receipt for the total | Total Process | Districtof | District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve -
(Sign only for USM 285 if more
than one USM 285 is submitted) No. No.

 

 

 

 

 

Thereby certify and return that I [7] have personally served , [1] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

 

CJ Uhereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (ifnot shown above) Dats Time CT am
C) pm

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>

 

REMARKS
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 7 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-V-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No: 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) Basil Seggos, Commissioner; William Powell, Division of Law Enforcement;
Joseph Therrien, Special Licenses Unit and the New York State Department of Environmental Conservation
c/o New York State Office of the Attorney General
Empire State Plaza

Justice Building, 2nd Floor The Capitol
Albany, NY 12224-0341 Albany, NY 12224-0341

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
a rere etree

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Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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earn ee

 

UNITED STATES DISTRICT COURT
for the

Western District of New York State

Fourth Division

 

CaseNo, __20-6v-7039

(to befilled in by the Clerk's Office)
Plaintiffs)
Jury Trial: (check one) Yes [No

ye
New York State Department of Environmental
Conservation & the United Stated Department of
Agriculture and the following INDIVIDUALS, in
their individual and official capacities; BASIL
SEGGOS - Commissioner, SONNY PERDUE -
Secretary, WILLIAM POWELL -
Lieuteanant/Captain,DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, DEC
Special Licenses Unit, ANDREA DIAMBROSIO -
USDA Animal Care Inspector and *John/Jane Does
#1-15,

Defendant(s) ;

Net Nee Seu! Nena! Saat! nee? Newt New New! See? Sema? Sear! See? Sew? Sree

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the coust should vof contain: an individual's full social
security number or full birth date; the full name ofa person known to be a minor, or a complete financial account
number. A filing may include only: the last four digits ofa social security number; the year ofan individual's
bith; a minor's initials; and the last four digits ofa financial account number.

Except as noted in this form, plaintiffneed not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed m
forma pauperis.

 

* may be individuals who work for the government or those who do not.

 

 
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Pro Se 15 (Rev. 12/16} Complaint for Violation of Civil Rights (Non-Prisoner)
—————————— er ree

The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiffnamed m the complaint. Attach additional pages if

needed.
Name Carrie M. Leo
Address 3199 Walworth Road
Wahvorth NY 14568
Civ State Ziv Code
County ‘Wayne
Telephone Number GB 15)538-83 16 - a
E-Mail Address carrieleoI5 @gmail.com

B. The Defendant(s)

Provide the information below for each defendant named m the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown) and check whether you are bringing this complaint against

them m their individual capacity or official capacity, or both Attach additional pages ifneeded.

Defendant No. 1
Name
Job or Title Gifknown)
Address

County
Telephone Number

E-Mail Address (islmowu)

Defendant No. 2
Name
Job or Title (iffaown)
Address

County
Telephone Number

E-Mail Address fifimown)

New York State Department of Environmental Conservation

625 Broadway

Albany
Civ

Albany
(518) 402-8401

Basil Seggos
Commissioner
625 Broadway

Albany

City
Albany
(518) 402-8401

unknown

individval capacity *

Page 2 of 14

NY 12233

State Zio Code
NY 12233
State Zio Code

Official capacity °
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Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
——ESEOo———E

Defendant No. 3
Name
Job or Title (finewn)
Address

County
Telephone Number
E-Mail Address (if kiown)

Defendant No. 4
Name
Job or Title (fawn)
Address

County
Telephone Number
E-Mail Address (iffawn)

Defendant No. 5.

- Name
Job‘or Title ff iiown)
Addrass

County
Telephone Number
E-Mail Address (iffnawn)

Defendant No. 6
: Name .
Job or Title Gf hiown)
Address :

County
Telephone Number
E-Mail Address (#fcrawn)

United States Department of Agriculture.

1400 Independence Avenue, S.W.

Washington DC 20250
7 City State Zip Code

District of Columbia

202-720-2791

Individual capacity ‘ Official capacity °

Sonny Perdue a

Secretary

1400 Independence Avenue., 8.W. ee

Washington pc 20250

Civ State Zip Code
District of Columbia _

202-720-2791

Individual capacity Official capacity

Joe Therrien

 

Director, Special Licenses Unit

 

625 Broadway,5" Floor

 

 

Albany, NY 12233-7071,”
City State Zip Coda
Albany
518-402-8985

 

joseph.therrien@dec.ny.zov

Individual capacity '

William Powell

Official capacity

Lieutenant/Captain, Division of Law Enforcement -

6274 East Avon-Lima Rd.

 

 

 

Avon, NY 14414-9519
; Cit State tin Code
Livingston
585-226-6706 .

 

william.powell@dec.ny.gov

 

Individual capacity -

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Official capacity
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Pro Se 35 (Rey. 12/16) Complaint for Violation of Civil Rights (Non-Prisones}
——— oe

 

 

 

 

 

 

 

Defendant No. 7

- Name ; Andrea D'Ambrosio
Job‘or Title fifinown) Animal Care Inspector
Address . 1400 Independence Avenue, S.W.

Washington, D.C. 20250
. City State Zip Code
County District of Columbia
Telephone Number 202-720-2791
E-Mail Address (if kacwn)
EX] individual capacity * Official capacity °
Basis for Jurisdiction

Under 42 U.8.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v, Six Unkrtown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all ihat apply):
{] Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Equal treatment under the law, freedom of speech, freedom of petition, freedom from
unreasonable searches and seizures, right to due process of law, rights of accused person,
freedom from cruel and unusual punishment, freedom to enjoy one's own property, freedom to
not have property taken by the government without just compensation and freedom of
establishing ones own business.

Cc Plaintiffs suing uader Bivens may only recover for the violation of certain constitutional nghts. Ifyou
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Due process, property rights, equal treatment under the law, chance for recourse/redress and
false accusations/defamation.

D Section 1983 allows defendants to be found liable only when they have acted “under color ofany
statute, ordinance, regulation, custom, or usage, ofany State or Territory or the District of Columbia."
4 USC. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color

of state or focal Inv. Ifyou are suing under Bivens, explain how each defendant acted uoder color of
federal Jaw. Attach additional pages ifneeded.

On or around November 7, 2015, the Division of Law Enforcement of the DEC visited my
wildlife center due to a neighbor contacting the agency about my having wild animals. I was
duly licensed by the DEC and USDA to possess and exhibit wild and exotic animals. Although

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)
Sartre TT

the officers saw nothing of concern after touring the center, they returned on May 10, 2016
demanding another tour of the facility for an "inspection" and seizing a pack of six adult coyotes
I possessed with the authority of my wildlife rehabilitation license through the DEC.

Two to three days afterward, the town zoning officer cited my stepfather, the landowner, for two
alleged violations. On or around July 26, 2016, the DEC cited me with eleven citations mostly
for possession of coyotes. The charges were resolved with a plea to two civil violations of my
keeping opossums in hospital cages in the barn during the winter and for submitting an annual
log for one of my licenses late; two alleged violations which are committed by other licenses
frequently without citation or discipline.

In 2017, I became aware of Lt. Powell and Officer Thomas from the DEC acting against my
business by making me take the entire center down even though it was constructed legally, and
the town know of it. In fact, one of the zoning officers visited the center in or around December
2015 to look around and was given a tour of the entire facility. The zoning officer saw nothing
of concern.

The DEC was not going to settle without my full surrendering of all licensure and the relocation
of all animals, which was an extreme measure for a business which was duly licensed and
operating within the confines of the law. The center even offered a community service of wildlife
rehabilitation which was done on a volunteer basis and financed from personal funds and a few
donations.

In April 2017, | boarded three animals with a colleague and friend I trusted at the time while |
recovered from surgery. I boarded the animals in order to maintain the standard of care for the
animals by temporarily keeping them with someone who could take care of them full-time until
I recovered. However, without my permission and knowledge, the colleague took the animals
out of New York State, with the help of specific staff members of the DEC and USDA and
imported them illegally into Texas State.

Since then, I have been vying in court to gain repossession of the animals only to have
interference from the DEC and USDA in convincing my colleague that I didn't have the proper
licensing to keep the animals. Even though an attorney from the DEC's Office of General
Counsel confirmed for me in writing that my licensing was, in fact, valid to have not only the
animals back from my colleague but that I could have additional animals listed on the license
if I were to obtain more animals, which I didn't plan on.

I was granted a preliminary injunction on September 10, 2018 (and amended on May 2, 2019)
for the return of my animals. By then, the Defendant started to allege, one by one, the animals
were either stolen or deceased. However, evidence which I've gathered since then shows
otherwise. The Defendant's attorney opted to use a number of highly unethical methods in
prejudicing my repossession of the animals and teamed up with the DEC (and possibly the
USDA).

The DEC has been giving the Defendant information and other documents which I have reason
are prejudicing me against the assertion of my rights. Although I've asked for copies of the
documents since they clearly had to do with me and my licensing of my animals and business,
they have never given me copies.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I have also become aware of Lt. Powell, Joe Therrien, James Farquhar, Andrea D'Ambrosio and
Tonya Hadijis (the former two from the DEC and the latter two from the USDA) acting against
my interests and rights secretly by protecting the person who still has possession of my animals.
I have sought assistance from everyone I can think of, including all the way up the "ladder" of

authority, so to speak, to the Commissioner of the DEC and the Secretary of the USDA only to

be met with hostility or indifference.

In order to discredit me, both agencies have used the law to accuse me of violating laws which
either don't exist, or have been improperly applied. In the meantime, DEC officials, namely
Powell and Therrien, have incited my neighbors to act against me, including the vandalism
of my center twice and unlawful release of my animals when I wasn't around the premises.
Local (town, county) authorities and officials have been turned against me based on severely
derogatory and personal statements made about me by Lt. Powell and Officer Kevin Thomas -
the DEC Division of Law Enforcement officers who work in my region, referred to by the DEC
as "Region 8."

My state licenses were either denied renewal in an untimely fashion or revoked while the
Department violated a multitude of regulations and rules during the process it took in doing so.
Presently, the USDA is now invoking a proceeding to terminate my federal license simply
because the state license was revoked. During any consideration the Department may have given
concerning my licensing, I have had literally no say whatsoever, even and especially, in the
hearing which was held to revoke one of my state licenses on March 13, 2018 (the license was
revoked by final determination by the Commissioner on or around November 7, 2018). Although
I gave testimony, the Department chose not to believe anything I said.

Recently, I have become aware that I am being defamed by the same staff members mentioned
in this summary as I've been accused (not directly, of course) for animal cruelty, such as starving
animals, etc. Powell has solicited false testimony in manipulating potential witnesses to say
things about me which aren't true and for which there is no evidence or evidence which squarely
contradicts statements he has coached other people to say against me.

My business and reputation are destroyed and because having a business with exotic animals was
a dream of mine towards which I had been working for years, I used all of my resources, including
financial, in establishing the business I worked so hard to create and maintain along the letter of
the law.

 

New York State Department of Environmental Conservation staff members Joe Therrien, Paul
Stringer, William Powell and James Farquhar! misrepresented the licensing | had through the
Department's Special Licenses Unit telling a person who was boarding animals for me that I didn't
have the authority to possess such animals. However, the two licenses | had through the
Department, the License for Wildlife Rehabilitation (LWR) and License to Collect & Possess
(LCP) were valid for the year 2017 and most of 2018, respectively.

While talking to other individuals about my licensing, the Department repeatedly refused to give
me status on my licenses never returning calls, emails, or letters. Even though my License to
Collect & Possess continued to undergo rolling renewals annually in July 2017 and July 2018, I
was never given an updated paper license, even though I had requested one. It is standard practice
to give every licensee a paper version of their licenses

However, when the colleague who boarded my animals contacted the SLU, he was not ignored

at all and in fact a conspiracy developed between him and the Department in preventing the return
of my animals even though this was

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Pro Se-15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

part of the contract to which we both agreed before the boarding arrangement took place on or around
April 23, 2017. Eventually the renewal applications for both licenses J sent to the Department were denied
months after the 45-day deadline for the Department to respond or else there would be an automatic
approval of the application. Technically, the applications were renewed automatically, and the LWR's
new expiration date is 12/31/2022 and then LCP undergoes annual rolling renewals.

I also have reason to believe the Department has helped the person who stole my animals fabricate an
entire fable about me by justifying and telling members of the public and other authority figures that may
enter the scene occasionally that I had the animals taken away from me due to neglect and/or cruelty and
I wasn't licensed for them; both of which are not true. If this was the truth, then the individual who
boarded my animals would also be in violation of the law then, as it is prohibited by virtue of all of his
state and federal licensing conditions to acquire animals from an illegal source. Since then, however, he
has exported the animals from New York State, traversed a number of states in traveling to Texas,
imported the animals into the state, including his own menagerie (which includes endangered species),
unlawfully. He continues to possess all of the animals illegally to this day only carrying federal licensing
to exhibit without respecting Texas state law and licensing indigenous species, furbearers, and endangered
species. The three animals he took from me where all furbearers (fox, fisher and badger) and two were
from species considered indigenous to the state of Texas.

It is clear he is passing around documents given to him by the DEC which have been referred to as a
"phone summary" by Therrien in an email on or around November 8, 2017 which he states was written
and given to my colleague. Another reference to yet another document was made by my colleague was
on December 6, 2019 when he stated he had "orders" to “transport and dispose" of my animals. The
Department has given me no notice whatsoever that any possession of my animals up to the time my
colleague boarded them was unlawful and they knew what live inventory I had at the time as well.
Furthermore, I was never given any notice of "orders". In fact, I've requested copies of the documents
numerous times from both my colleague and the Department to no avail. There is this "secret conspiracy"
or collaboration between my colleague and the DEC as_ well as at least one staff member in the USDA
working to keep my animals from returning to me. For mere possession, the animals do not need to be
licensed - only if they are exhibited.

I have also been confronted by individuals who have spoken to Powell and possibly other officers who
have made derogatory and untrue remarks concerning me, my business and character. These statements
occurred during pending cases in which the Department cited me excessively and unfairly for the
possession of wild animals which were authorized by the licensing I had at the time for wildlife
rehabilitation. In addition to the fact that the Department tried entrapping me by refusing to process my
amendment requests and renewal applications for the rehab and long-term possession license (LCP),
according to their own regulation, the requests and renewals were already approved automatically at the
45-day deadline for the Department to send notice to the licensee of its decision to approve or decline
amendment requests and licensing renewals.

The United States Department of Agriculture Animal Care Inspector, Andrea D'Ambrosio, encouraged
my colleague to take as many animals as possible from my center with the intent not to return them. She
also suggested an agister's lien for the return of my animals. This denies due process rights as well as aid
the commission of fraud and possibly other torts. covering up and allowing numerous violations of law
by my colleague which led to his violation of at least three federal laws, in addition to a multitude of New
York and Texas State Conservation Laws.

Furthermore, the animal care complaints I filed with the USDA were "investigated" by D'Ambrosio who
did not put forth good-faith effort in determining what happened to my animals. In fact, I have reason to
believe she told others, such as SBA Ombudsman, Steve Bennett, that | "forfeited" the animals, which,
again, is untrue. Another inspector who responded to one of the

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—————————————————— EE ————————————

animal care complaints and did an inspection of the facility at which my colleague kept my animals in Texas
failed to verify any state licensing, including export and import documentation. If she had, she would have
seen that his activity with the animals was unlawful. However, it is likely the inspector was "under the
thumb" of D'Ambrosio who was protecting my colleague as she too was collaborating with the New York
State Department of Environmental Conservation in keeping my animals from me. This, from my
understanding, is still occurring to this day.

While the above mentioned staff members and my colleague are violating a host of laws and have been in
this case for years, I had my LWR untimely denied, my LCP revoked through a process during which the
Department violated many of its own rules governing proceedings for licensing revocations and am currently
fighting to keep my USDA Exhibitor's License. Yet the staff members have suffered no ill effects from
violating my civil rights and breaking the very laws they are charged to uphold and enforce. Nor is my
colleague required to follow the law and has broken far more than I had been accused of violating since this
case began yet he still has yet to experience even one citation. He currently continues to possess my and his
animals in the State of Texas unlawfully.

All efforts of mine at recourse or redress have been unsuccessful. In fact, my latest attempt with the USDA
appears to have spurred their current attempt to terminate my federal exhibitor's license. The effect of the
termination will be the inability of me to exhibit my animals to the public and run breeding projects, which
is what the ultimate goal of DEC's and USDA's involved staff members are although they will not admit it
publicly. These people are putting forth extreme effort in an even more extreme end result - especially for
someone who does not deserve it.

I Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations ofall relevant events, You may wish to include
further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. Ifmore than one claim is asserted, number each claim and waite a short and plain
statement ofeach claim in a separate parapraph. Attach additional pages ifneeded.

A. Where did the events giving rise to your claim(s) occur?

Much ofthe allegations coming from the authorities occurred at my center in Walworth, NY. They
are specified in the longer aarratives contained herein, Other circumstances occurred during the case,
Leo v Thomas Index No. 2017-1668 pending m the New York State Supreme Court of Jefferson
Coumty and is currently on appeal.

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B. What date and approximate time did the events giving rise to your claim(s) occur?

This matter has been going on from the first Saturday ofNovember 2015 to the present day. However,
I did not become aware ofthe damage and intentions ofthe DEC and USDA unifil later. There are
various dates such as dates when certain inflammatory statements were made, dates when
misrepresentations of law were being made both in and out of Court especially when the preliminary
injundction was granted for the retam ofmy animals., etc.

Included as an attachment (will be included in the Amended Complaint/Petition) is a timeline

incorporating the various dates as they correspond to the actions of the DEC, USDA and other parties

and non-parties involved in this civil rights case.

C. What are the facts underlying your claim(s)? (Kor acample: What happened tayou? Who did what?
Was anyone else involved? Who else saw what happened?)

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IV.

Background

In November 2015, Captain (then Lieutenant) Powell and I had a minor argument on
the phone during which he threatened to terminate the licensing I had through the
DEC. Not long afterward, I have reason to believe he riled up my neighbors and
colleagues making derogatory remarks about me and my facility and sending around
gossip and rumors about the same things. He also breached confidentiality. He never
gave the Plaintiff a chance to abide by his expectations, even though they seemed to
be different than those used for other licensees similarly situated. His approach was
"one strike and you're out". Powell then imposed punishment on my family and I by
manipulating town authorities to threaten my parents with tens of thousands of dollars
of fines for things which weren't even wrong with their property. He had another officer
tell me I had to get rid of all of my animals and take down all of the fencing, etc. down
even though everything was licensed and legal. This is my business and a way to earn
a living. He then collaborated with the person who stole my animals in July 2017 by
passing around rumors that I was an animal abuser and starve animals, etc. None of
this was true. Not to mention, I've never been cited for such things to this day. He has
created an entire fable around my business and I instead of dealing with reality. He
manipulated and had undue influence over potential witnesses having them lie for him
to back up his lies. One witness stated he was upset when the officers, presumably at
the command of Powell, tried getting him to say he was black marketing animals with
me which wasn't true at all.

My licensing was misrepresented causing prejudice against me in the repossession of
my animals. There are many more items but those will be included in the Amended
Complaint.

James Farquhar and Joe Therrien have been interfering covertly with a case of mine
and causing prejudice and conferring with the lawyer for the opposing side concerning
my licensing which is being misrepresented. There are also at least two documents
written for the defendant about me, the case and my licensing but they will not give

me a copy but they have given a copy to the defendant, who was licensed just as I was
so we were on equal footing and should have been treated that way.

Injuries

Ef you sustained injuries related to the events alleged abave, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

I sustained no physical injuries related to the actions of the Defendants which necessitated medical attention.

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting moncy damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

As a self-represented litigant, | do not know whether many things are within the jurisdiction of the Court.
Hence, I realize | may request relief that may be inappropriate despite my best efforts to research and seek
guidance from attorneys to prevent such inappropriate requests. As a result, I understand that some
requests may be denied based on the fact that the Court does not have the ability or jurisdiction to provide
certain types of relief 1 may request.

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With that in mind, following are the requests for relief based on the details in this complaint.

1. DECLARATORY JUDGMENT on the status of my licensing at the time I boarded my animals on
April 23, 2017 as well as during the month of July 2017 when I became aware of my animals having
been taken illegally out of New York State and how long the validity of my licensing remained intact
before the Commissioner's final determination on revocation of the license on November 7, 2018. The
license in question is the License to Collect & Possess #623.

DECLARATORY JUDGMENT
Transparency.
A. ORDER for DEC

(1) to provide me a copy of the "phone summary"! and "orders"? which were mentioned in the
November 8, 2017 email? by Therrien to Tyler Thomas and to which Tyler alluded in the
factbook post of December 6, 2019,’ respectively. These documents should be given to me
since they've been given and passed around among other members of the public. In fact, |
cannot be sure they didn't make it to the judge who dismissed my case in Leo v Thomas since
the defense attorney would likely not be above doing something such as sending him the
documents along with his motion for summary judgment or at another time during the case.

(2) There are also emails which should also be unredacted and sent to me which will also be
included in the attachments to the amended complaint/petition.°

(3) to cease any collaboration with Tyler Thomas or any other individual or business that has any
animals or other property of mine, in preventing the return of the property, especially if it is
under order from a court of law. They should also be made to cease involvement, including
advice, pertaining to legal proceedings in which they are not a party. Any other acts which
result in prejudice against me, legally or otherwise, should also be ceased. Inflammatory
remarks, including false accusations, should be immediately ceased as well as any breach of
confidentiality.

(4) Lrequest the DEC is ordered to remove the Commissioner's final decision notice from their
website since I am getting threats and many angry remarks from DEC supporters and those
who receive "incentives" to help the DEC with their cases, such as those being rewarded with
free animals taken, sometimes unlawfully, from people the DEC targets for political and/or
personal reasons. It is also important to note that I have directly requested the DEC, in the
recent past, to remove the notice due to concerns for my safety and that of my business. They
promptly refused and in fact, promoted the page to the public. This is quite hypocritical for
an agency who passes stifling prohibitive restrictions against the possession of almost every
kind of exotic animal due to the agency's alleged "concern" for public welfare and safety yet
they may be encouraging those threatening me to act on those threats. Clearly, there is very
little concern for the welfare and safety of others on the part of the Department. .

(5) I request both agencies, the DEC and USDA, cease any and all retaliative efforts, be they via
the DLE officers spinning a yarn at my expense passing around inflammatory remarks and
gossip about me and my affairs or via the legal process. I also should not experience any
retaliation from either agency when I ask my legislative representatives to oppose the adoption
of regulations or other matters the agencies come up with which may be the focus about which
I work with legislators.

 

‘refer to phone summary exhibit

? refer to "orders" exhibit

3 refer to attachment which contains email between Therrien and tyler
4 refer to attachment with orders facebook post

5 make exhibit with redacted emails to be unredacted and sent to me

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Pro Se-15 (Rey. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

B. ORDER for USDA.

(1) The USDA was dishonest with me in regard to one of my foia requests® for documents’ held
by their IES department stating that the documents I requested were destroyed as they were
kept for only one year, per policy. This is incorrect as IES policy is known to keep documents
for six years and the documents are not destroyed and need to be turned over to me.

(2) It is clear the USDA has used two sets of varying standards between other individuals,
especially staff members and other licensees and I. Violations of federal and state laws should
be managed consistently and fairly. I ask the Court to mandate the treatment of both staff
members and licensees or any other individuals to be by the same standards given the severity
of the misconduct. Given the multitude of violations by Tyler Thomas alone, termination of
his federal Exhibitor's License should be considered as is the USDA mandating the return of
my animals and working with Thomas in returning them to me.

(3) I request the USDA remove any derogatory information of me from their sites and any others
under their control. Such information would include inspection reports, ALJ decisions as well
as those from the Judicial Officer who hears appeals.

(4) Staff members like Andrea D'Ambrosio should also be held accountable for the damage she
has done to both my business and my personal life with false accusations and colluding with
the DEC in terminating licensure so I can never possess animals again. The extremism of this
conduct and end-result is especially concerning, especially when an agency allows such to get
to this level of extremism.. 1 should not be treated like a person convicted of felony animal
cruelty, especially when I've never had even so much as a civil violation citing me for such.
Staff members on both the state and federal levels should be made accountable for the
resources they've wasted in waging such a personal, extreme and unlawful war against a small
business owner who has been made out to be someone she is not in lieu of conducting good-
faith investigations in matters which relate to me.

(5) I request amendments to my past USDA Animal Welfare inspection reports in which I believe
I've been cited incorrectly. For instance, I was cited by D'Ambrosio for not arranging for a
person to clean the animal enclosures daily when | was out of state for three days. Yet, when I
did exactly that during my surgery in April 2017, she intervened and told the colleague who
stole my animals that he should take as many animals as he can without the intention of ever
returning them. The USDA should not have an inspector telling a licensee one thing then
acting against her when she follows the inspector's instruction to avoid a similar citation under
similar circumstances in the future.

Another incident was when I was cited for something out of my control. A few additional
incidences in which I was cited by D'Ambrosio were improper due to my not breaking any
regulations of the Animal Welfare Act. One example of such a citation is the time I was cited
for of containers stacked on top of each other and being near a few animals in their cages
(which would be okay if the containers held materials which pertained to the animals that were
caged closest to the stacked containers). They were neatly stacked, and they did contain
materials specific to the animals which were closest to the containers. However, D'Ambrosio
did not take into consideration my statements rendering the arrangement and location of the
containers appropriate and therefore not an item for which I should be cited.

I was also cited for an enclosure not being clean when it was. In fact, 1 had picked the waste
out of it the night before and dropped fresh foundation covering the entire floor of the
enclosure.

 

5 foia request denied due to alleged destruction of IES records
7 usda documents redacted in foia
8 According to Executive

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There is also a way the inspectors are trained to write the inspection reports in which specific
words are used as well as terms and wording which make things sound worse or even imply a
more severe violation. For instance, if a wild animal, such as a raccoon, were to reach

through the chain link fabric of an enclosure in order to pick food out of the food dish attached
to the side of an enclosure, and the animal inside the enclosure protests and challenges the
raccoon, both animals stand to get hurt, especially the domesticated animal which is in the
enclosure. Most, if not all, of the facilities I've seen to date, do not have a second layer of
smaller mesh hardware cloth lining the bottom of the perimeter of the enclosure to prevent
animals from reaching in or out. Most people don't even think about an animal reaching in to
grab food and possibly injuring the animal inside the enclosure. However, something like this
occurred to me and I have been cited for it and given grief about it by Dr. Goldentyer when it's
clear it was either a good-faith mistake or something which could (and does) as easily happen
to any other licensee situated similarly to me as an exotic animal and facility owner.

It's impossible to foresee every type of possible cause of injury for an animal. In fact,
D'Ambrosio, as my ACI, didn't even think about it while she saw the enclosure being built
during one of her inspections.

The sign of the sincerity of the licensee is whether or not she applies a safety measure in order
to prevent the same thing from happening again. For instance, moving the food bowls to the
center of the enclosure and/or placing a smaller mesh hardware cloth or livestock panel around
the bottom perimeter of the enclosure. This had been done in my case.

Another case was me given a citation for one 8' section of the perimeter fence being down
when D'Ambrosio arrived to conduct a routine inspection.

C. ORDER for both agencies; that is, the DEC and the USDA

(1) Supervisory staff of those who have committed misconduct, both on the state and federal
levels, should also be held accountable for failure to address the misconduct and in fact,
going along with it and being apart of it instead. Supervisory staff in the DEC would
partially consist of James Farquhar, who is the manager of Joseph Therrien of the SLU
and Tonya Hadijis, as well as Betty Goldentyer of the Animal Care/Welfare Unit of the
USDA-APHIS, were also aware of D'Ambrosio's misconduct and instead of protecting the
licensee against the misuse of her position, the supervisors chose to condone it and, like
the state agency, go along with and become apart of the misconduct. If staff members
were held accountable, such misconduct would be much more of a rarity than it is now.

(2) to revoke or terminate the licensure of the colleague who boarded my animals, Tyler
Thomas. He is in clear violation of federal laws such as The Animal Welfare Act, the
Endangered Species Act and the Lacey Act as well as the provisions of his licensing
through the USFWS and the USDA. New York State laws which have been violated are
numerous ECL and 6 NYCRR provisions which forbid the acquirement of animals via
unlawful sources (if 1 was supposedly unlawfully possessing my animals prior to boarding
them with Thomas), possessing animals without proper licensing, not documenting export
of all animals, including the endangered species in his collection of animals. The DEC
writing "orders" for transporting and disposing of my animals occurred after Thomas
already had the animals imported into Texas and the animals weren't given to him as they
were still owned by me. The state cannot give away property belonging to someone else;
especially, in this case, since I was indeed licensed properly to have them for exhibition.
For mere possession, the animals do not need to be licensed as they can be apart of a
personal collection. The DEC should also be mandated to work with the Texas Parks &
Wildlife Department in levying charges against Thomas for the unlawful import,

(3) possession, exhibition, transport, etc. of animals which are supposed to be licensed under
Texas conservation law. Lack of documentation and import certificates are also
violations. There even was a likelihood Thomas trapped a wild badger and exported the
animal out of Texas state without proper licensure. He had a trapping license but that did

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not authorize him to keep the animal in captivity for his own profit or for any other
reason. He is supposed to apply for an additional state license in order to deal in animals
caught from the wild in Texas.

His USFWS license should also be revoked since he left a red-tailed hawk in the
possession of his family in New York when he moved to Texas with the rest of the
animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
"no animals" at his facility when she stopped by for the last inspection of his in 2017 after
he had moved to Texas. In fact, he had several animals still in his New York State facility
in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
he has.

Just because he was encouraged to do certain things by government departments doesn't
mean he should be considered not to have violated the law. In fact, he is also acting under
the color of law by colluding with the DEC and USDA committing unlawful acts and
violating a plethora of laws. The the government too should be held accountable for
violating the laws; especially when they then hypocritically turn around and make
worthless allegations against me for doing so with little to no evidence to substantiate
such charges. The state assured my conviction and licensure revocation by prejudicing my
opportunity for fair hearings and decision-makers presiding over such hearings.

This is an extremely dangerous agency which revels in its place as a dictator of the people
of this state. Countless rights have been denied to the people and because they get
deference from the judiciary, they continue to abuse the trust of the public by the unjust
and exclusive management of natural resources as well as management of our personal
property; the latter of which should not be occurring at all. The Plaintiff in this matter
respectfully requests the Court to take such matters into consideration when deferring to
this agency if it does at all. In this matter, especially, the agency should not enjoy
deference at all as this is energy pushing their unlawful imposition of an agenda of special
interests and cruel treatment of the public. It is time the agency finally is held accountable
in order to curb their misconduct which they so egregiously perpetrate against anyone
exercising his or her rights.

There are also several other licensees who have been harboring wildlife and/or exotic animals
illegally who should also face termination of licensure, both state and federal.

A. Staff members of both the state and federal agencies involved should be terminated
immediately and forbidden from working, volunteering, or associating themselves with
public service agencies ever again.

1. Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
violating state conservation laws as well as laws concerning breach of privacy, violation of
constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
process by using zoning and non-zoning violations in order to destroy my business when there
was no need to do so, especially in that matter. They should also be held accountable for
conspiracy, aiding and abetting and failing to investigate and giving false citations to me.

2. Joe Therrien, James Farquhar and Paul Stringer misrepresented my licensing in order to
prejudice me in the return of my animals which I own. | had licensing until November 7, 2018
and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
all animals which were yet to be returned to me by the other licensee/my colleague with whom
I boarded the animals. All three staff members knew this, and this is why they are acting
against my interests and rights secretly passing out documents they have written containing
derogatory, mostly likely false, information pertaining to my ownership of my animals, my
business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
accusation but one which puts most people in instant judgment against the person against

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VI.

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whom such an accusation is made. I cannot be certain if such documents made it to the judge
in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
contacted the judge for the dismissal in order to avoid a jury trial.

3. Andrea D'Ambrosio should be held accountable with unlawful interference with a
contract/business relationship and/or opportunity, conspiracy, aiding and abetting, defamation,
false accusations, violations of the Animal Welfare Act and failure to conduct good-faith
investigations concerning the case of stolen animals.’

4, DEC - failure to enforce laws, rules, and regulations. failure to acknowledge redress I
attempted and providing or blocking any recourse I could have for relief against unfair
treatment by the agency.

5. USDA - same as for the DEC described in previous paragraph.

Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below. I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay. or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nontrivolous argument for extending. modify ing, or reversing existing law: (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint othenwise complies with the
requirements of Rule 11.

A. For Partics Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served, | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: August 23, 2020

   
   

Signature of Plaintiff

Printed Name of Plainti Carrie M. 1 co

 

Sworn toNbefore me this 23 day of November 2020

Hath)

v Public Notary” - |

   
 
    
     
    

 
 

LAURELS FRIEDEL .
Notary Public State af New YorR
NG. 077 R6383306
Qualified in Wayne County
dy Comnriss:on Capires Nev 13, 2022

 

 

 

 

° Even after I requested the Animal Care Division staff to not allow D'Ambrosio close to any information concerning me and my
business since she was no longer associated with me as an animal care inspector, the management still put her and her supervisor,
Tonya Hadijis, as main contacts for "investigating" the animal care complaints | submitted. Of course, the information | sent in or
noted was not even accessed, much less considered as part of the investigation by D'Ambrosio. It makes no sense to put a person

wre is implicated in a complaint as “investigator” of the complaint. Clearly, they will cover up their involvement and that is exactly
what she did.

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U.S. Department of Justice PROCESS RECERPY AND RETURN

 

 

 

United States Marshals Service See “Instructions for Service of Process by US. Marshal"
en
PLAINTIFF . COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New York Department of Environmental Conservation & the United States Department of Agriculture summ ons
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint

Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and “JohniJane Doas #1-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

The New York State Department of Environmental! Conservation

SERVE
AT ADDRESS fStreer o¢ RED. Apartment No.. City, State and ZIP Coda)

 

c/o New York State Office of the Attorney General
service in-person: Empire State Plaza, Justice Building, 2™4 Floor, Albany, NY 12224
service by mail: The Capitol, Albany, NY 12224-0341

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo ‘Number of parties to be
3199 Walworth Road nn
neck for service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR. OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: 9 A.M. to 5 P.M.
General Phone # (518) 776-2300

 

uesting service on behalf of: TELEPHONE NUMBER DATE
Bq PLAINTIFF

((] DEFENDANT (315) 538-8316 March 29, 2021

Signature of Ai other Originator

    

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and retum that1 [[] have personally served , [7] have legal evidence of service, [C] have executed. as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(C) Ihereby certify and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) Date Time (Cj am

C) pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
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AO 440 (Rey. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-y—
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.z 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/ane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) New York State Department of Environmental Conservation

c/o New York State Office of the Attorney General
Empire State Plaza
Justice Building, 2nd Floor The Capitol

Albany, NY 12224-0341 Albany, NY 12224-0341
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: __

 

Signature of Clerk or Deputy Clerk
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Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT
for the

Western District of New York State

Fourth Division

Case No.

 

(to bofilled in by the Clerk's Office)
Carrie M. Leo
Plaintitfts)
_y- Jury Trial: (check one) Yes CJ No
New York State Department of Environmental
Conservation & the United Stated Department of
Agriculture and the following INDIVIDUALS, in
their individual and official capacities: BASIL
SEGGOS - Commissioner, SONNY PERDUE -
Secretary, WILLIAM POWELL -
Lieuteanant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, DEC
Special Licenses Unit, ANDREA D'AMBROSIO -
USDA Animal Care Inspector and *John/Jane Does
#1-15,

Defendant(s)

Newt Ne Sew Saw! Sere! See Net Nene Nae! Nene Sel See See See Seat

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

 

 

NOTICE

Federal Rules of Civil Procedure 52 addresses the privacy and security concems resulting from public access to
electronic court files. Under this rule, papers filed with the court should vot contain: an individual's full social
security number or full birth date; the full name ofa person known to be a minor; or a complete financial account
number. A filing may include owlp: the last four digits ofa social security number; the year ofan individual's
bith; a minor's initials; and the last four digits ofa financial account number.

Except as noted in this form, plaintiffneed not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed m
forma pauperis.

 

* may be individuals who work for the government or those who do not.

 
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner}

The Parties to This Complaint

A. The Plaintifi(s)

Provide the information below for each plaintiffnamed m the complaint. Attach additional pages if

needed.
Name Carrie M. Leo
Address 3199 Walworth Road
Wabvorth NY 14568
Civ State Ziv Code
County Wayne
Telephone Number . G3 15)538-83 16
E-Mail Address carrieleoI5 @gmail.com
The Defendant(s)

Provide the information below for each defendant named m the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both Attach additional pages ifneeded.

Defendant No. 1

Name New York State Department of Environmental Conservation

Job or Title Gftnown)

Address 625 Broadway

Albany NY 12233
Civ State Zio Code

County Albany

Telephone Number (518) 402-8401

E-Mail Address (iftnown) .
Defendant No. 2

Name Basil Seggos

Job or Title (ifinowy) Commissioner

Address 625 Broadway

Albany NY 12233
City State Zio Code

County Albany

Telephone Number (518) 402-8401

E-Mail Address (iflarown) unknown

Individual capacity * Official capacity °

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Pro Se-15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisaner)

Defendant No. 3

Defendant No. 5

Name United States Department of Agriculture
Job or Title (fdnawn)
Address 1400 Independence Avenue, S.W. _
Washington DC 20250 |
City State Zip Cade
County District of Columbia
Telephone Number 202-720-2791 / _
E-Mail Address (if known)
Individual capacity * Official capacity °
Defendant No. 4
Name Sonny Perdue - .
Job or Title /ifknown) Secretary a.
Address 1400 Independence Avenue., S.W. oe
Washington = DC 20250
Civ State Zip Cade
County District of Columbia
Telephone Number 202-720-2791 a ne
E-Mail Address ff known) a

individual capacity [J Official capacity

 

 

 

 

 

 

 

 

 

 

 

 

 

- Name Joe Therrien
Job'or Title (known) Director, Special Licenses Unit
Address 625 Broadway, 5 Floor
Albany, NY ____ 12233-7011
civ State Zip Coie
County Albany
Telephone Number 518-402-8985
E-Mail Address (ftiawn) joseph.therrien@dec.ny.gov
Individual capacity * Official capacity *
Defendant No. 6
- Name William Powell
Job‘or Title gf known) Licutenant/Captain, Division of Law Enforcement -_
Address 6274 East Avon-Lima Rd.
Avon, NY 14414-9519
. City Stale Zip Cade
County Livingston
Telephone Number 585-226-6706 .
E-Mail Address (known) _william.powell@dec.ny.gov

 

Individual capacity Official capacity ©

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Pro Se-J5 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

 

 

 

 

 

 

 

Defendant No. 7
Name Andrea D'Ambrosio
Job or Title (if known) Animal Care Inspector
Address ' 1400 Independence Avenue, S.W.
Washington, D.C. 20250
: City State Zip Code
County District of Columbia
Telephone Number 202-720-2791
E-Mail Address (known)
Individual capacity ' Official capacity *
Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." Under Bivens v, Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
Federal officials (a Bivens claim)

State or local officials {a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunitics secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Equal treatment under the law, freedom of speech, freedom of petition, freedom from
unreasonable searches and seizures, right to due process of law, rights of accused person,
freedom from cruel and unusual punishment, freedom to enjoy one's own property, freedom to
not have property taken by the government without just compensation and freedom of
establishing ones own business.

c Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. Ifyou
are suing under Bivens, what constitutional night(s) do you claim is/are being violated by federal
officials?

Due process, property rights, equal treatment under the law, chance for recourse/redress and
false accusations/defamation.

D Section 1983 allows defendants to be found liable only when they have acted “under color ofany
statute, ordinance, regulation, custom, or usage, ofany State or Terntory or the District of Columbia."
USC. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color
of state or local Jaw. Ifyou are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages ifneeded.

On or around November 7, 2015, the Division of Law Enforcement of the DEC visited my
wildlife center due to a neighbor contacting the agency about my having wild animals. I was
duly licensed by the DEC and USDA to possess and exhibit wild and exotic animals. Although

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the officers saw nothing of concern after touring the center, they returned on May 10, 2016
demanding another tour of the facility for an "inspection" and seizing a pack of six adult coyotes
I possessed with the authority of my wildlife rehabilitation license through the DEC.

Two to three days afterward, the town zoning officer cited my stepfather, the landowner, for two
alleged violations. On or around July 26, 2016, the DEC cited me with eleven citations mostly
for possession of coyotes. The charges were resolved with a plea to two civil violations of my
keeping opossums in hospital cages in the barn during the winter and for submitting an annual
log for one of my licenses late; two alleged violations which are committed by other Hcenses
frequently without citation or discipline.

In 2017, I became aware of Lt. Powell and Officer Thomas from the DEC acting against my
business by making me take the entire center down even though it was constructed legally, and
the town know of it. In fact, one of the zoning officers visited the center in or around December
2015 to look around and was given a tour of the entire facility. The zoning officer saw nothing
of concern.

The DEC was not going to settle without my full surrendering of all licensure and the relocation
of all animals, which was an extreme measure for a business which was duly licensed and
operating within the confines of the law. The center even offered a community service of wildlife
rehabilitation which was done on a volunteer basis and financed from personal funds and a few
donations.

In April 2017, I boarded three animals with a colleague and friend I trusted at the time while |
recovered from surgery. I boarded the animals in order to maintain the standard of care for the
animals by temporarily keeping them with someone who could take care of them full-time until
I recovered. However, without my permission and knowledge, the colleague took the animals
out of New York State, with the help of specific staff members of the DEC and USDA and
imported them illegally into Texas State.

Since then, I have been vying in court to gain repossession of the animals only to have
interference from the DEC and USDA in convincing my colleague that I didn't have the proper
licensing to keep the animals. Even though an attorney from the DEC's Office of General
Counsel confirmed for me in writing that my licensing was, in fact, valid to have not only the
animals back from my colleague but that I could have additional animals listed on the license
if I were to obtain more animals, which I didn't plan on.

I was granted a preliminary injunction on September 10, 2018 (and amended on May 2, 2019)
for the return of my animals. By then, the Defendant started to allege, one by one, the animals
were either stolen or deceased. However, evidence which I've gathered since then shows
otherwise. The Defendant's attorney opted to use a number of highly unethical methods in
prejudicing my repossession of the animals and teamed up with the DEC (and possibly the
USDA).

The DEC has been giving the Defendant information and other documents which I have reason
are prejudicing me against the assertion of my rights. Although I've asked for copies of the
documents since they clearly had to do with me and my licensing of my animals and business,
they have never given me copies.

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I have also become aware of Lt. Powell, Joe Therrien, James Farquhar, Andrea D'Ambrosio and
Tonya Hadijis (the former two from the DEC and the latter two from the USDA) acting against
my interests and rights secretly by protecting the person who still has possession of my animals.
I have sought assistance from everyone I can think of, including all the way up the "ladder" of

authority, so to speak, to the Commissioner of the DEC and the Secretary of the USDA only to

be met with hostility or indifference.

In order to discredit me, both agencies have used the law to accuse me of violating laws which
either don't exist, or have been improperly applied. In the meantime, DEC officials, namely
Powell and Therrien, have incited my neighbors to act against me, including the vandalism
of my center twice and unlawful release of my animals when I wasn't around the premises.
Local (town, county) authorities and officials have been turned against me based on severely
derogatory and personal statements made about me by Lt. Powell and Officer Kevin Thomas -
the DEC Division of Law Enforcement officers who work in my region, referred to by the DEC
as "Region 8."

My state licenses were either denied renewal in an untimely fashion or revoked while the
Department violated a multitude of regulations and rules during the process it took in doing so.
Presently, the USDA is now invoking a proceeding to terminate my federal license simply
because the state license was revoked. During any consideration the Department may have given
concerning my licensing, | have had literally no say whatsoever, even and especially, in the
hearing which was held to revoke one of my state licenses on March 13, 2018 (the license was
revoked by final determination by the Commissioner on or around November 7, 2018). Although
I gave testimony, the Department chose not to believe anything I said.

Recently, I have become aware that I am being defamed by the same staff members mentioned
in this summary as I've been accused (not directly, of course) for animal cruelty, such as starving
animals, etc. Powell has solicited false testimony in manipulating potential witnesses to say
things about me which aren't true and for which there is no evidence or evidence which squarely
contradicts statements he has coached other people to say against me.

My business and reputation are destroyed and because having a business with exotic animals was
a dream of mine towards which I had been working for years, I used all of my resources, including
financial, in establishing the business I worked so hard to create and maintain along the letter of
the law.

 

New York State Department of Environmental Conservation staff members Joe Therrien, Paul
Stringer, William Powell and James Farquhar! misrepresented the licensing I had through the
Department's Special Licenses Unit telling a person who was boarding animals for me that I didn't
have the authority to possess such animals. However, the two licenses I had through the
Department, the License for Wildlife Rehabilitation (LWR) and License to Collect & Possess
(ZCP) were valid for the year 2017 and most of 2018, respectively.

While talking to other individuals about my licensing, the Department repeatedly refused to give
me status on my licenses never returning calls, emails, or letters. Even though my License to
Collect & Possess continued to undergo rolling renewals annually in July 2017 and July 2018, I
was never given an updated paper license, even though I had requested one. It is standard practice
to give every licensee a paper version of their licenses

However, when the colleague who boarded my animals contacted the SLU, he was not ignored

at all and in fact a conspiracy developed between him and the Department in preventing the return
of my animals even though this was

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part of the contract to which we both agreed before the boarding arrangement took place on or around
April 23, 2017. Eventually the renewal applications for both licenses I sent to the Department were denied
months after the 45-day deadline for the Department to respond or else there would be an automatic
approval of the application. Technically, the applications were renewed automatically, and the LWR's
new expiration date is 12/31/2022 and then LCP undergoes annual rolling renewals.

I also have reason to believe the Department has helped the person who stole my animals fabricate an
entire fable about me by justifying and telling members of the public and other authority figures that may
enter the scene occasionally that I had the animals taken away from me due to neglect and/or cruelty and
I wasn't licensed for them; both of which are not true. If this was the truth, then the individual who
boarded my animals would also be in violation of the law then, as it is prohibited by virtue of all of his
state and federal licensing conditions to acquire animals from an illegal source. Since then, however, he
has exported the animals from New York State, traversed a number of states in traveling to Texas,
imported the animals into the state, including his own menagerie (which includes endangered species),
unlawfully. He continues to possess all of the animals illegally to this day only carrying federal licensing
to exhibit without respecting Texas state law and licensing indigenous species, furbearers, and endangered
species. The three animals he took from me where all furbearers (fox, fisher and badger) and two were
from species considered indigenous to the state of Texas.

It is clear he is passing around documents given to him by the DEC which have been referred to as a
"phone summary” by Therrien in an email on or around November 8, 2017 which he states was written
and given to my colleague. Another reference to yet another document was made by my colleague was
on December 6, 2019 when he stated he had "orders" to "transport and dispose" of my animals. The
Department has given me no notice whatsoever that any possession of my animals up to the time my
colleague boarded them was unlawful and they knew what live inventory I had at the time as well.
Furthermore, I was never given any notice of "orders". In fact, I've requested copies of the documents
numerous times from both my colleague and the Department to no avail. There is this "secret conspiracy"
or collaboration between my colleague and the DEC as_ well as at least one staff member in the USDA
working to keep my animals from returning to me. For mere possession, the animals do not need to be
licensed - only if they are exhibited.

I have also been confronted by individuals who have spoken to Powell and possibly other officers who
have made derogatory and untrue remarks concerning me, my business and character. These statements
occurred during pending cases in which the Department cited me excessively and unfairly for the
possession of wild animals which were authorized by the licensing I had at the time for wildlife
rehabilitation. In addition to the fact that the Department tried entrapping me by refusing to process my
amendment requests and renewal applications for the rehab and long-term possession license (LCP),
according to their own regulation, the requests and renewals were already approved automatically at the
45-day deadline for the Department to send notice to the licensee of its decision to approve or decline
amendment requests and licensing renewals.

The United States Department of Agriculture Animal Care Inspector, Andrea D'Ambrosio, encouraged
my colleague to take as many animals as possible from my center with the intent not to return them. She
also suggested an agister's lien for the return of my animals. This denies due process rights as well as aid
the commission of fraud and possibly other torts. covering up and allowing numerous violations of law
by my colleague which led to his violation of at least three federal laws, in addition to a multitude of New
York and Texas State Conservation Laws.

Furthermore, the animal care complaints I filed with the USDA were "investigated" by D'Ambrosio who
did not put forth good-faith effort in determining what happened to my animals. In fact, I have reason to
believe she told others, such as SBA Ombudsman, Steve Bennett, that 1 "forfeited" the animals, which,
again, is untrue. Another inspector who responded to one of the

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animal care complaints and did an inspection of the facility at which my colleague kept my animals in Texas
failed to verify any state licensing, including export and import documentation. If she had, she would have
seen that his activity with the animals was unlawful. However, it is likely the inspector was "under the
thumb" of D'Ambrosio who was protecting my colleague as she too was collaborating with the New York
State Department of Environmental Conservation in keeping my animals from me. This, from my
understanding, is still occurring to this day.

While the above mentioned staff members and my colleague are violating a host of laws and have been in
this case for years, | had my LWR untimely denied, my LCP revoked through a process during which the
Department violated many of its own rules governing proceedings for licensing revocations and am currently
fighting to keep my USDA Exhibitor's License. Yet the staff members have suffered no ill effects from
violating my civil rights and breaking the very laws they are charged to uphold and enforce. Nor is my
colleague required to follow the law and has broken far more than I had been accused of violating since this
case began yet he still has yet to experience even one citation. He currently continues to possess my and his
animals in the State of Texas unlawfully.

All efforts of mine at recourse or redress have been unsuccessful. In fact, my latest attempt with the USDA
appears to have spurred their current attempt to terminate my federal exhibitor's license. The effect of the
termination will be the inability of me to exhibit my animals to the public and run breeding projects, which
is what the ultimate goal of DEC's and USDA's involved staff members are although they will not admit it
publicly. These people are putting forth extreme effort in an even more extreme end result - especially for
someone who does not deserve it.

TX Stafement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations ofall relevant events. You may wish to include
further details such as the names ofother persons involved im the events giving rise to your claims. Do not cite
any cases or statutes. Ifmore than one claim ts asserted, number each claim and write a short and plain
statement ofeach claim in a separate paragraph. Attach additional pages ifneeded.

A Where did the events giving rise to your claim(s) occur?

Much ofthe allegations coming from the authorities occurred at my center in Walworth, NY. They
are specified in the longer narratives contained herein. Other circumstances occumed during the case,
Leo v Thomas Index No. 2017-1668 pending m the New York State Supreme Court ofJefferson

Coumty and is currently on appeal.

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B. What date and approximate time did the events giving rise to your claim(s) occur?

This matter has been going on from the first Saturday ofNovember 2015 to the present day. However,
I did not become aware ofthe damage and intentions ofthe DEC and USDA until later. There are
various dates such as dates when certain inflammatory statements were made, dates when
misrepresentations of law were being made both im and out of Court especially when the preliminary
injundction was granted for the retum ofmy animals., etc.

Included as an attachment (will be included in the Amended Complaint/Petition) is a timeline

incorporating the various dates as they correspond to the actions of the DEC, USDA and other parties

and non-parties involved in this civil rights case.

Cc. What are the facts underlying your claim(s)? (For example: What happened toyou? Who did what?
Was anyone else involved? Who else saw what happened?)

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Background

In November 2015, Captain (then Lieutenant) Powell and J had a minor argument on
the phone during which he threatened to terminate the licensing | had through the
DEC. Not long afterward, I have reason to believe he riled up my neighbors and
colleagues making derogatory remarks about me and my facility and sending around
gossip and rumors about the same things. He also breached confidentiality. He never
gave the Plaintiff a chance to abide by his expectations, even though they seemed to
be different than those used for other licensees similarly situated. His approach was
"one strike and you're out". Powell then imposed punishment on my family and I by
manipulating town authorities to threaten my parents with tens of thousands of dollars
of fines for things which weren't even wrong with their property. He had another officer
tell me I had to get rid of all of my animals and take down all of the fencing, etc. down
even though everything was licensed and legal. This is my business and a way to earn
a living. He then collaborated with the person who stole my animals in July 2017 by
passing around rumors that I was an animal abuser and starve animals, etc. None of
this was true. Not to mention, I've never been cited for such things to this day. He has
created an entire fable around my business and I instead of dealing with reality. He
manipulated and had undue influence over potential witnesses having them lie for him
to back up his lies. One witness stated he was upset when the officers, presumably at
the command of Powell, tried getting him to say he was black marketing animals with
me which wasn't true at all.

My licensing was misrepresented causing prejudice against me in the repossession of
my animals. There are many more items but those will be included in the Amended
Complaint.

James Farquhar and Joe Therrien have been interfering covertly with a case of mine
and causing prejudice and conferring with the lawyer for the opposing side concerning
my licensing which is being misrepresented. There are also at least two documents
written for the defendant about me, the case and my licensing but they will not give

me a copy but they have given a copy to the defendant, who was licensed just as I was
sO we were on equal footing and should have been treated that way.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, ifany, you required and did or did not receive.

I sustained no physical injuries related to the actions of the Defendants which necessitated medical attention.

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting moncy damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

As a self-represented litigant, I do not know whether many things are within the jurisdiction of the Court.
Hence, | realize I may request relief that may be inappropriate despite my best efforts to research and seek
guidance from attorneys to prevent such inappropriate requests. As a result, I understand that some
requests may be denied based on the fact that the Court does not have the ability or jurisdiction to provide
certain types of relief I may request.

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Pro Se 15 (Rey, 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

With that in mind, following are the requests for relief based on the details in this complaint.

1.

DECLARATORY JUDGMENT on the status of my licensing at the time I boarded my animals on
April 23, 2017 as well as during the month of July 2017 when I became aware of my animals having
been taken illegally out of New York State and how long the validity of my licensing remained intact
before the Commissioner's final determination on revocation of the license on November 7, 2018. The
license in question is the License to Collect & Possess #623.

DECLARATORY JUDGMENT
Transparency.
A. ORDER for DEC

(1)

(2)

(3)

(4)

(5)

to provide me a copy of the "phone summary"! and "orders"? which were mentioned in the

November 8, 2017 email? by Therrien to Tyler Thomas and to which Tyler alluded in the
factbook post of December 6, 2019,‘ respectively. These documents should be given to me
since they've been given and passed around among other members of the public. In fact, I
cannot be sure they didn't make it to the judge who dismissed my case in Leo v Thomas since
the defense attorney would likely not be above doing something such as sending him the
documents along with his motion for summary judgment or at another time during the case.

There are also emails which should also be unredacted and sent to me which will also be
included in the attachments to the amended complaint/petition.°

to cease any collaboration with Tyler Thomas or any other individual or business that has any
animals or other property of mine, in preventing the return of the property, especially if it is
under order from a court of law. They should also be made to cease involvement, including
advice, pertaining to legal proceedings in which they are not a party. Any other acts which
result in prejudice against me, legally or otherwise, should also be ceased. Inflammatory
remarks, including false accusations, should be immediately ceased as well as any breach of
confidentiality.

I request the DEC is ordered to remove the Commissioner's final decision notice from their
website since I am getting threats and many angry remarks from DEC supporters and those
who receive "incentives" to help the DEC with their cases, such as those being rewarded with
free animals taken, sometimes unlawfully, from people the DEC targets for political and/or
personal reasons. It is also important to note that I have directly requested the DEC, in the
recent past, to remove the notice due to concerns for my safety and that of my business. They
promptly refused and in fact, promoted the page to the public. This is quite hypocritical for
an agency who passes stifling prohibitive restrictions against the possession of almost every
kind of exotic animal due to the agency's alleged "concern" for public welfare and safety yet
they may be encouraging those threatening me to act on those threats. Clearly, there is very
little concern for the welfare and safety of others on the part of the Department. .

I request both agencies, the DEC and USDA, cease any and all retaliative efforts, be they via
the DLE officers spinning a yarn at my expense passing around inflammatory remarks and
gossip about me and my affairs or via the legal process. I also should not experience any
retaliation from either agency when I ask my legislative representatives to oppose the adoption
of regulations or other matters the agencies come up with which may be the focus about which
I work with legislators.

 

' refer to phone summary exhibit

? yefer to "orders" exhibit

3 refer to attachment which contains email between Therrien and tyler
4 refer to attachment with orders facebook post

5 make exhibit with redacted emails to be unredacted and sent to me

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B. ORDER for USDA.

(1) The USDA was dishonest with me in regard to one of my foia requests® for documents’ held
by their IES department stating that the documents I requested were destroyed as they were
kept for only one year, per policy. This is incorrect as IES policy is known to keep documents
for six years and the documents are not destroyed and need to be turned over to me.

(2) It is clear the USDA has used two sets of varying standards between other individuals,
especially staff members and other licensees and I. Violations of federal and state laws should
be managed consistently and fairly.* 1 ask the Court to mandate the treatment of both staff
members and licensees or any other individuals to be by the same standards given the severity
of the misconduct. Given the multitude of violations by Tyler Thomas alone, termination of
his federal Exhibitor's License should be considered as is the USDA mandating the return of
my animals and working with Thomas in returning them to me.

(3) I request the USDA remove any derogatory information of me from their sites and any others
under their control. Such information would include inspection reports, ALJ decisions as well
as those from the Judicial Officer who hears appeals.

(4) Staff members like Andrea D'Ambrosio should also be held accountable for the damage she
has done to both my business and my personal life with false accusations and colluding with
the DEC in terminating licensure so I can never possess animals again. The extremism of this
conduct and end-result is especially concerning, especially when an agency allows such to get
to this level of extremism.. I should not be treated like a person convicted of felony animal
cruelty, especially when I've never had even so much as a civil violation citing me for such.
Staff members on both the state and federal levels should be made accountable for the
resources they've wasted in waging such a personal, extreme and unlawful war against a small
business owner who has been made out to be someone she is not in lieu of conducting good-
faith investigations in matters which relate to me.

(5) I request amendments to my past USDA Animal Welfare inspection reports in which I believe
I've been cited incorrectly. For instance, I was cited by D'Ambrosio for not arranging for a
person to clean the animal enclosures daily when I was out of state for three days. Yet, when I
did exactly that during my surgery in April 2017, she intervened and told the colleague who
stole my animals that he should take as many animals as he can without the intention of ever
returning them. The USDA should not have an inspector telling a licensee one thing then
acting against her when she follows the inspector's instruction to avoid a similar citation under
similar circumstances in the future.

Another incident was when I was cited for something out of my control. A few additional
incidences in which I was cited by D'Ambrosio were improper due to my not breaking any
regulations of the Animal] Welfare Act. One example of such a citation is the time I was cited
for of containers stacked on top of each other and being near a few animals in their cages
(which would be okay if the containers held materials which pertained to the animals that were
caged closest to the stacked containers). They were neatly stacked, and they did contain
materials specific to the animals which were closest to the containers. However, D'Ambrosio
did not take into consideration my statements rendering the arrangement and location of the
containers appropriate and therefore not an item for which I should be cited.

I was also cited for an enclosure not being clean when it was. In fact, I had picked the waste
out of it the night before and dropped fresh foundation covering the entire floor of the
enclosure.

 

® foia request denied due to alleged destruction of IES records
7 usda documents redacted in foia
5 According to Executive

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Pro Se-15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

There is also a way the inspectors are trained to write the inspection reports in which specific
words are used as well as terms and wording which make things sound worse or even imply a
more severe violation. For instance, if a wild animal, such as a raccoon, were to reach

through the chain link fabric of an enclosure in order to pick food out of the food dish attached
to the side of an enclosure, and the animal inside the enclosure protests and challenges the
raccoon, both animals stand to get hurt, especially the domesticated animal which is in the
enclosure. Most, if not all, of the facilities I've seen to date, do not have a second layer of
smaller mesh hardware cloth lining the bottom of the perimeter of the enclosure to prevent
animals from reaching in or out. Most people don't even think about an animal reaching in to
grab food and possibly injuring the animal inside the enclosure. However, something like this
occurred to me and I have been cited for it and given grief about it by Dr. Goldentyer when it's
clear it was either a good-faith mistake or something which could (and does) as easily happen
to any other licensee situated similarly to me as an exotic animal and facility owner.

It's impossible to foresee every type of possible cause of injury for an animal. In fact,
D'Ambrosio, as my ACI, didn't even think about it while she saw the enclosure being built
during one of her inspections.

The sign of the sincerity of the licensee is whether or not she applies a safety measure in order
to prevent the same thing from happening again. For instance, moving the food bowls to the
center of the enclosure and/or placing a smaller mesh hardware cloth or livestock panel around
the bottom perimeter of the enclosure. This had been done in my case.

Another case was me given a citation for one 8’ section of the perimeter fence being down
when D'Ambrosio arrived to conduct a routine inspection.

C. ORDER for both agencies; that is, the DEC and the USDA

(1) Supervisory staff of those who have committed misconduct, both on the state and federal
levels, should also be held accountable for failure to address the misconduct and in fact,
going along with it and being apart of it instead. Supervisory staff in the DEC would
partially consist of James Farquhar, who is the manager of Joseph Therrien of the SLU
and Tonya Hadijis, as well as Betty Goldentyer of the Animal Care/Welfare Unit of the
USDA-APHIS, were also aware of D'Ambrosio's misconduct and instead of protecting the
licensee against the misuse of her position, the supervisors chose to condone it and, like
the state agency, go along with and become apart of the misconduct. If staff members
were held accountable, such misconduct would be much more of a rarity than it is now.

(2) to revoke or terminate the licensure of the colleague who boarded my animals, Tyler
Thomas. He is in clear violation of federal laws such as The Animal Welfare Act, the
Endangered Species Act and the Lacey Act as well as the provisions of his licensing
through the USFWS and the USDA. New York State laws which have been violated are
numerous ECL and 6 NYCRR provisions which forbid the acquirement of animals via
unlawful sources (if 1 was supposedly unlawfully possessing my animals prior to boarding
them with Thomas), possessing animals without proper licensing, not documenting export
of all animals, including the endangered species in his collection of animals. The DEC
writing "orders" for transporting and disposing of my animals occurred after Thomas
already had the animals imported into Texas and the animals weren't given to him as they
were still owned by me. The state cannot give away property belonging to someone else;
especially, in this case, since I was indeed licensed properly to have them for exhibition.
For mere possession, the animals do not need to be licensed as they can be apart of a
personal collection. The DEC should also be mandated to work with the Texas Parks &
Wildlife Department in levying charges against Thomas for the unlawful import,

(3) possession, exhibition, transport, etc. of animals which are supposed to be licensed under
Texas conservation law. Lack of documentation and import certificates are also
violations. There even was a likelihood Thomas trapped a wild badger and exported the
animal out of Texas state without proper licensure. He had a trapping license but that did

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

not authorize him to keep the animal in captivity for his own profit or for any other
reason. He is supposed to apply for an additional state license in order to deal in animals
caught from the wild in Texas.

His USFWS license should also be revoked since he left a red-tailed hawk in the
possession of his family in New York when he moved to Texas with the rest of the
animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
"no animals" at his facility when she stopped by for the last inspection of his in 2017 after
he had moved to Texas. In fact, he had several animals still in his New York State facility
in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
he has.

Just because he was encouraged to do certain things by government departments doesn't
mean he should be considered not to have violated the law. In fact, he is also acting under
the color of law by colluding with the DEC and USDA committing unlawful acts and
violating a plethora of laws. The the government too should be held accountable for
violating the laws; especially when they then hypocritically turn around and make
worthless allegations against me for doing so with little to no evidence to substantiate
such charges. The state assured my conviction and licensure revocation by prejudicing my
opportunity for fair hearings and decision-makers presiding over such hearings.

This is an extremely dangerous agency which revels in its place as a dictator of the people
of this state. Countless rights have been denied to the people and because they get
deference from the judiciary, they continue to abuse the trust of the public by the unjust
and exclusive management of natural resources as well as management of our personal
property; the latter of which should not be occurring at all. The Plaintiff in this matter
respectfully requests the Court to take such matters into consideration when deferring to
this agency if it does at all. In this matter, especially, the agency should not enjoy
deference at all as this is energy pushing their unlawful imposition of an agenda of special
interests and cruel treatment of the public. It is time the agency finally is held accountable
in order to curb their misconduct which they so egregiously perpetrate against anyone
exercising his or her rights.

There are also several other licensees who have been harboring wildlife and/or exotic animals
illegally who should also face termination of licensure, both state and federal.

A. Staff members of both the state and federal agencies involved should be terminated
immediately and forbidden from working, volunteering, or associating themselves with
public service agencies ever again.

1. Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
violating state conservation laws as well as laws concerning breach of privacy, violation of
constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
process by using zoning and non-zoning violations in order to destroy my business when there
was no need to do so, especially in that matter. They should also be held accountable for
conspiracy, aiding and abetting and failing to investigate and giving false citations to me.

2. Joe Therrien, James Farquhar and Paul Stringer misrepresented my licensing in order to
prejudice me in the return of my animals which I own. I had licensing until November 7, 2018
and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
all animals which were yet to be returned to me by the other licensee/my colleague with whom
[ boarded the animals. All three staff members knew this, and this is why they are acting
against my interests and rights secretly passing out documents they have written containing
derogatory, mostly likely false, information pertaining to my ownership of my animals, my
business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
accusation but one which puts most people in instant judgment against the person against

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Pro Se 15 (Rev 12/16) Camplaint for Vialatian of Cal Rights (Non-Preunet

whom such an accusation is made. I cannot be certain if such documents made it to the judge
in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
contacted the judge for the dismissal in order to avoid a jury trial.

3. Andrea D'Ambrosio should be held accountable with unlawful interference with a
contract/business relationship and/or opportunity, conspiracy, aiding and abetting, defamation,
false accusations, violations of the Animal Welfare Act and failure to conduct good-faith
investigations concerning the case of stolen animals.°

4, DEC - failure to enforce laws, rules, and regulations. failure to acknowledge redress I
attempted and providing or blocking any recourse I could have for relief against unfair
treatment by the agency.

5. USDA - same as for the DEC described in previous paragraph.

Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below. | certify to the best of my knowledge, infornation,
and belief that this complaint: (J) is not being presented for an improper purpose. such as to harass, cause
unnecessary delay. or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modify ing, or reversing existing law: (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery: and (4) the complaint othenvise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served, | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: August 23, 2020

   
   

Signature of Plaintiff

Printed Name of Plaintifé Carrie M. T co

 

Sworn toNbefore me this 23 day of November 2020

Hath)

wv Public Nota " |

   
  
   
     
    

 
 

LAUREL FRIEDL .
Notary Pubic State af New Yoru
NG. O77 R6383306
Qualified in Wayne County
My Coraniiss:on Capires Nev 13, 2022

 

 

 

 

® Even after 1 requested the Animal Care Division staff to not allow D'Ambrosio close to any information concerning me and my
business since she was no longer associated with me as an animal care inspector, the management still put her and her supervisor,
Tonya Hadijis, as main contacts for "investigating" the animal care complaints | submitted. Of course, the information | sent in or
noted was not even accessed, much less considered as part of the investigation by D'Ambrosio. It makes no sense to put a person

who is implicated in a complaint as “investigator” of the complaint. Clearly, they will cover up their involvement and that is exactly
what she did.

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NYSDEC
OAG

Note: The following papers have been created to support a choice of two options
- the option in which the NYSDEC, Seggos, Powell and Therrien are included
together on one Process Receipt & Return and one Summons whereas the other
option is serving a copy of both forms tailored specifically for every individual
defendant.

If there are any duplicates of any forms, they were printed accidentally and are
included in this set of papers for a backup copy should staff need one.
Case 6:20-cv-07039-FPG Documentié6 Filed

 

 

 

 

|

US, Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See Ynstructions for Serr .
PLAINTIEF COURT CASE NUMBER

Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS

New York Department of Environmental Conservation & the United States Department of Agriculture Summ on s
and the following INDIVIDUALS in thefr individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law

Enforcement, JOSEPH THERRIEN ~ Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and “JohnfJane Does 41-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

Joseph Therrien, Special Licenses Unit
The New York State Department of Environmental Conservation

SERVE

 

AT & Apress 4ieor or RED. Avarinent No.. City, Stare and ZIP Code)
c/o New York State Office of the Attorney General

service in-person: Empire State Plaza, Justice Building, 2" Floor, Albany, NY 12224

service by mail: The Capitol, Albany, NY 12224-0341

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW ‘Number of process to be
served with this Form 285
Carrie M. Leo ‘Number of parties to be
3199 Walworth Road ee case
Cie TOL SEPVICE
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (include Business and Alternate Addresses,

All Telephone Nuntbers, and Estimated Times Avaitable for Service):

Hours of Operation: 9 A.M. to 5 P.M.
General Phone # (518) 776-2300

 

Signature of Attorney other Originatorrequesting service on behalf of:

LA

   

[] PLAINTIFF
[((] DEFENDANT

 

TELEPHONE NUMBER

(315) 538-8316

DATE

March 29, 2021

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

Tacknowledge receipt for the total | Total Process | Districtof | Districtto —_| Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [[] have personally served , (T] have legal avidence of service, [7] have executed as shown in "Remarks", the process described on the
individual, company, corporation, efc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

( Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

Name and title of individual served (ifnot shown above)

Date Time

C] an
C] pm

 

 

Address (complete only different than shown above)

 

Signature of U.S. Marshal or Deputy

 

Costs shown on attached USMS Cost Sheet >>
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-V-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No. 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *Johnfjane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

TO: (Defendant's name and address) New York State Department of Environmental Conservation
Joseph Therrien, Special Licenses Unit
c/o New York State Office of the Attorney General
Empire State Plaza
Justice Building, 2nd Floor The Capitol
Albany, NY 12224-0341 Albany, NY 12224-0341

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT
for the

Wester District of New York State
Fourth Division

Case No, __20-cv-7039

 

(to befilled m by the Clerk's Office)
Carrie M Leo
Plaintiffis)
ay Jury Trial: (check one) EY Yes (1 No
New York State Department of Environmental
Conservation & the United Stated Department of
Agriculture and the following INDIVIDUALS, in
their individual and official capacities:BASIL
SEGGOS - Commissioner, SONNY PERDUE -
Secretary, WILLIAM POWELL -
Lieuteanant/Captain,DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, DEC
Special Licenses Unit, ANDREA D'AMBROSIO -
USDA Animal Care Inspector and *John/Jane Does
#-15,

Defendant(s)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

(Non-Prisoner Complaint)

 

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concems resulting from public access to
electronic court files. Under this male, papers filed with the court should wef contain: an individual's full social
security number or full bicth date; the full name ofa person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits ofa social security number, the year ofan individual's
bith; a minor's initials; and the last four digits ofa financial account number.

Except as noted m this form, plaintiffneed not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed m
forma pauperis.

 

* may be individuals who work for the government or those who do not.

 

 
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)
Fa Ne

The Parties to This Complaint

A. The Plaintifii(s)

Provide the information below for each plaintiffnamed m the complaint. Attach additional pages if

needed.
Wame Camie M. Leo
Address 3199 Walworth Road
Wabvorth NY 14568
Civ State Ziv Code
County Wayne
Telephone Number ((315)538-8316
E-Mail Address carrieleo I5@gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown) and check whether you are bringing this complaint against

them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title (iftsiown)
Address

County
Telephone Number

E-Mail Address (iffmown)

Defendant No. Z
Name
Job or Title (iffiown)
Address

County
Telephone Number

E-Mail Address fiftmown)

New York State Department of Environmental Conservation

625 Broadway

Albany
Civ

Albany
(518) 402-8401

Basil Seggos
Commissioner
625 Broadway

Albany

City
Albany
(518) 402-8401
unknown

Dd] individual capacity *

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NY 12233

State Zio Code
NY 12233
State Zio Code

Official capacity
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Pro Se 15 (Rey, 12/16) Complaint for Violation of Civil Rights (Non~Prisoner)
Spree NNT

Defendant No. 3

Name United States Department of Agriculture _

Job or Title Gfknown) / /

Address 1400 Independence Avenue, S.W. oe
Washington . pe - 20250

- City State Zip Cade

County District of Columbia

Telephone Number 202-720-2791

E-Mail Address (if known)

Defendant No. 5

Individual capacity ° Official capacity ©

Defendant No. 4
Name Sonny Perdue _ -
Job or Title (iftrown) Secretary —
Address 1400 Independence Avenue., S.W.
Washington 7 DC 20250
City State Zip Code
County District of Columbia
Telephone Number 202-720-2791 _ _
E-Mail Address (iftnown) a

El individual capacity Official capacity

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Joe Therrien
Job or Title (if known) Director, Special Licenses Unit
Address 625 Broadway, 5™ Floor
Albany, NY _____12233-7011
City State Zin Code
County Albany
Telephone Number 518-402-8985
E-Mail Address (i/tnawn) joseph.therrien@dec.ny.gzov
Individual capacity ' Official capacity *
Defendant No. 6
‘+ Name William Powell
Job or Title (ifknown) Lieutenant/Captain, Division of Law Enforcement.
Address 6274 East Avon-Lima Rd. |
Avon, NY 14414-9519
City State Zin Corde
County Livingston
Telephone Number _585-226-6706
E-Mail Address (iftown) william.powell@dec.ny.zov
BX] individual capacity ' Bd Official capacity -

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
Sartre cre ecienranecN

Defendant No. 7

 

 

 

 

 

 

‘Name , Andrea D'Ambrosio
Job‘or Title (ifinown) Animal Care Inspector
Address ’ 1400 Independence Avenue, S.W.
Washington, B.C. 20250
City State Zip Cade
County District of Columbia
Telephone Number 202-720-2791
E-Mail Address (if kaawn)

 

Individual capacity ' Official capacity ©

Basis for Jurisdiction

Under 42 U,S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcaties, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or Jocal officials?

Equal treatment under the law, freedom of speech, freedom of petition, freedom from
unreasonable searches and seizures, right to due process of law, rights of accused person,
freedom from cruel and unusual punishment, freedom to enjoy one's own property, freedom to
not have property taken by the government without just compensation and freedom of
establishing ones own business.

c. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional nghts. Ifyou
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Due process, property rights, equal treatment under the law, chance for recourse/redress and
false accusations/defamation.

D Section 1983 allows defendants to be found liable only when they have acted "under color ofany
statute, ordinance, regulation, custom, or usage, ofany State or Temitory or the District of Columbia."
2 US. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color
of state or local law. Ifyou are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages ifneeded.

On or around November 7, 2015, the Division of Law Enforcement of the DEC visited my
wildlife center due to a neighbor contacting the agency about my having wild animals. I was
duly licensed by the DEC and USDA to possess and exhibit wild and exotic animals. Although

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the officers saw nothing of concern after touring the center, they returned on May 10, 2016
demanding another tour of the facility for an "inspection" and seizing a pack of six adult coyotes
I possessed with the authority of my wildlife rehabilitation license through the DEC.

Two to three days afterward, the town zoning officer cited my stepfather, the landowner, for two
alleged violations. On or around July 26, 2016, the DEC cited me with eleven citations mostly
for possession of coyotes. The charges were resolved with a plea to two civil violations of my
keeping opossums in hospital cages in the barn during the winter and for submitting an annual
log for one of my licenses late; two alleged violations which are committed by other licenses
frequently without citation or discipline.

In 2017, I became aware of Lt. Powell and Officer Thomas from the DEC acting against my
business by making me take the entire center down even though it was constructed legally, and
the town know of it. In fact, one of the zoning officers visited the center in or around December
2015 to look around and was given a tour of the entire facility. The zoning officer saw nothing
of concern.

The DEC was not going to settle without my full surrendering of all licensure and the relocation
of all animals, which was an extreme measure for a business which was duly licensed and
operating within the confines of the law. The center even offered a community service of wildlife
rehabilitation which was done on a volunteer basis and financed from personal funds and a few
donations.

In April 2017, I boarded three animals with a colleague and friend I trusted at the time while I
recovered from surgery. I boarded the animals in order to maintain the standard of care for the
animals by temporarily keeping them with someone who could take care of them full-time until
I recovered. However, without my permission and knowledge, the colleague took the animals
out of New York State, with the help of specific staff members of the DEC and USDA and
imported them illegally into Texas State.

Since then, I have been vying in court to gain repossession of the animals only to have
interference from the DEC and USDA in convincing my colleague that I didn't have the proper
licensing to keep the animals. Even though an attorney from the DEC's Office of General
Counsel confirmed for me in writing that my licensing was, in fact, valid to have not only the
animals back from my colleague but that I could have additional animals listed on the license
if I were to obtain more animals, which | didn't plan on.

I was granted a preliminary injunction on September 10, 2018 (and amended on May 2, 2019)
for the return of my animals. By then, the Defendant started to allege, one by one, the animals
were either stolen or deceased. However, evidence which I've gathered since then shows
otherwise. The Defendant's attorney opted to use a number of highly unethical methods in
prejudicing my repossession of the animals and teamed up with the DEC (and possibly the
USDA).

The DEC has been giving the Defendant information and other documents which I have reason
are prejudicing me against the assertion of my rights. Although I've asked for copies of the
documents since they clearly had to do with me and my licensing of my animals and business,
they have never given me copies.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)
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I have also become aware of Lt. Powell, Joe Therrien, James Farquhar, Andrea D'Ambrosio and
Tonya Hadijis (the former two from the DEC and the latter two from the USDA) acting against
my interests and rights secretly by protecting the person who still has possession of my animals.
I have sought assistance from everyone I can think of, including all the way up the "ladder" of

authority, so to speak, to the Commissioner of the DEC and the Secretary of the USDA only to

be met with hostility or indifference.

In order to discredit me, both agencies have used the law to accuse me of violating laws which
either don't exist, or have been improperly applied. In the meantime, DEC officials, namely
Powell and Therrien, have incited my neighbors to act against me, including the vandalism
of my center twice and unlawful release of my animals when I wasn't around the premises.
Local (town, county) authorities and officials have been turned against me based on severely
derogatory and personal statements made about me by Lt. Powell and Officer Kevin Thomas -
the DEC Division of Law Enforcement officers who work in my region, referred to by the DEC
as "Region 8."

My state licenses were either denied renewal in an untimely fashion or revoked while the
Department violated a multitude of regulations and rules during the process it took in doing so.
Presently, the USDA is now invoking a proceeding to terminate my federal license simply
because the state license was revoked. During any consideration the Department may have given
concerning my licensing, I have had literally no say whatsoever, even and especially, in the
hearing which was held to revoke one of my state licenses on March 13, 2018 (the license was
revoked by final determination by the Commissioner on or around November 7, 2018). Although
I gave testimony, the Department chose not to believe anything I said.

Recently, I have become aware that I am being defamed by the same staff members mentioned
in this summary as I've been accused (not directly, of course) for animal cruelty, such as starving
animals, etc. Powell has solicited false testimony in manipulating potential witnesses to say
things about me which aren't true and for which there is no evidence or evidence which squarely
contradicts statements he has coached other people to say against me.

My business and reputation are destroyed and because having a business with exotic animals was
a dream of mine towards which I had been working for years, I used all of my resources, including
financial, in establishing the business I worked so hard to create and maintain along the letter of
the law.

 

New York State Department of Environmental Conservation staff members Joe Therrien, Paul
Stringer, William Powell and James Farquhar! misrepresented the licensing I had through the
Department's Special Licenses Unit telling a person who was boarding animals for me that I didn't
have the authority to possess such animals. However, the two licenses I] had through the
Department, the License for Wildlife Rehabilitation (LWR) and License to Collect & Possess
(LCP) were valid for the year 2017 and most of 2018, respectively.

While talking to other individuals about my licensing, the Department repeatedly refused to give
me status on my licenses never returning calls, emails, or letters. Even though my License to
Collect & Possess continued to undergo rolling renewals annually in July 2017 and July 2018, |
was never given an updated paper license, even though I had requested one. It is standard practice
to give every licensee a paper version of their licenses

However, when the colleague who boarded my animals contacted the SLU, he was not ignored

at all and in fact a conspiracy developed between him and the Department in preventing the return
of my animals even though this was

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part of the contract to which we both agreed before the boarding arrangement took place on or around
April 23, 2017. Eventually the renewal applications for both licenses | sent to the Department were denied
months after the 45-day deadline for the Department to respond or else there would be an automatic
approval of the application. Technically, the applications were renewed automatically, and the LWR's
new expiration date is 12/31/2022 and then LCP undergoes annual rolling renewals.

I also have reason to believe the Department has helped the person who stole my animals fabricate an
entire fable about me by justifying and telling members of the public and other authority figures that may
enter the scene occasionally that I had the animals taken away from me due to neglect and/or cruelty and
I wasn't licensed for them; both of which are not true. If this was the truth, then the individual who
boarded my animals would also be in violation of the law then, as it is prohibited by virtue of all of his
state and federal licensing conditions to acquire animals from an illegal source. Since then, however, he
has exported the animals from New York State, traversed a number of states in traveling to Texas,
imported the animals into the state, including his own menagerie (which includes endangered species),
unlawfully. He continues to possess all of the animals illegally to this day only carrying federal licensing
to exhibit without respecting Texas state law and licensing indigenous species, furbearers, and endangered
species. The three animals he took from me where all furbearers (fox, fisher and badger) and two were
from species considered indigenous to the state of Texas.

It is clear he is passing around documents given to him by the DEC which have been referred to as a
"phone summary" by Therrien in an email on or around November 8, 2017 which he states was written
and given to my colleague. Another reference to yet another document was made by my colleague was
on December 6, 2019 when he stated he had "orders" to "transport and dispose" of my animals. The
Department has given me no notice whatsoever that any possession of my animals up to the time my
colleague boarded them was unlawful and they knew what live inventory I had at the time as well.
Furthermore, I was never given any notice of "orders". In fact, I've requested copies of the documents
numerous times from both my colleague and the Department to no avail. There is this "secret conspiracy"
or collaboration between my colleague and the DEC as_ well as at least one staff member in the USDA
working to keep my animals from returning to me. For mere possession, the animals do not need to be
licensed - only if they are exhibited.

I have also been confronted by individuals who have spoken to Powell and possibly other officers who
have made derogatory and untrue remarks concerning me, my business and character. These statements
occurred during pending cases in which the Department cited me excessively and unfairly for the
possession of wild animals which were authorized by the licensing 1 had at the time for wildlife
rehabilitation. In addition to the fact that the Department tried entrapping me by refusing to process my
amendment requests and renewal applications for the rehab and long-term possession license (LCP),
according to their own regulation, the requests and renewals were already approved automatically at the
45-day deadline for the Department to send notice to the licensee of its decision to approve or decline
amendment requests and licensing renewals.

The United States Department of Agriculture Animal Care Inspector, Andrea D'Ambrosio, encouraged
my colleague to take as many animals as possible from my center with the intent not to return them. She
also suggested an agister's lien for the return of my animals. This denies due process rights as well as aid
the commission of fraud and possibly other torts. covering up and allowing numerous violations of law
by my colleague which led to his violation of at least three federal laws, in addition to a multitude of New
York and Texas State Conservation Laws.

Furthermore, the animal care complaints I filed with the USDA were "investigated" by D'Ambrosio who
did not put forth good-faith effort in determining what happened to my animals. In fact, I have reason to
believe she told others, such as SBA Ombudsman, Steve Bennett, that I "forfeited" the animals, which,
again, is untrue. Another inspector who responded to one of the

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animal care complaints and did an inspection of the facility at which my colleague kept my animals in Texas
failed to verify any state licensing, including export and import documentation. If she had, she would have
seen that his activity with the animals was unlawful. However, it is likely the inspector was "under the
thumb" of D'Ambrosio who was protecting my colleague as she too was collaborating with the New York
State Department of Environmental Conservation in keeping my animals from me. This, from my
understanding, is still occurring to this day.

While the above mentioned staff members and my colleague are violating a host of laws and have been in
this case for years, I had my LWR untimely denied, my LCP revoked through a process during which the
Department violated many of its own rules governing proceedings for licensing revocations and am currently
fighting to keep my USDA Exhibitor's License. Yet the staff members have suffered no ill effects from
violating my civil rights and breaking the very laws they are charged to uphold and enforce. Nor is my
colleague required to follow the law and has broken far more than I had been accused of violating since this
case began yet he still has yet to experience even one citation. He currently continues to possess my and his
animals in the State of Texas unlawfully.

All efforts of mine at recourse or redress have been unsuccessful. In fact, my latest attempt with the USDA
appears to have spurred their current attempt to terminate my federal exhibitor's license. The effect of the
termination will be the inability of me to exhibit my animals to the public and run breeding projects, which
is what the ultimate goal of DEC's and USDA's involved staff members are although they will not admit it
publicly. These people are putting forth extreme effort in an even more extreme end result - especially for
someone who does not deserve it.

HL ss Stafement of Claim

State as briefly as possible the facts ofyour case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations ofall relevant events. You may wish to include
further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. Ifmore than one claim is assexted, number each claim and waite a short and plain
statement ofeach claim in a separate paragraph. Attach additional pages ifneeded.

A Where did the events giving rise to your claim(s) occur?

Much ofthe allegations coming from the authorities occurred at my center in Walworth, NY. They
ate specified in the longer narratives contained herein. Other circumstances occurred during the case,
Leo v Thomas Index No. 2017-1668 pending m the New York State Supreme Court of Jefferson
Coumty and is enrrently on appeal.

 

B. What date and approximate time did the events giving rise to your claim(s) occur?

This matter has been going on from the first Saturday ofNovember 2015 to the present day. However,
I did not become aware ofthe damage and intentions ofthe DEC and USDA. until later. There are
various dates such as dates when certain inflammatory statements were made, dates when
misrepresentations of law were being made both in and out of Court especially when the preliminary
injundction was granted for the return of my animals., etc.

Included as an attachment (will be included in the Amended Complaint/Petition) is a timeline

incorporating the various dates as they correspond to the actions of the DEC, USDA and other parties

and non-parties involved in this civil rights case.

Cc. What are the facts underlying your claim(s)? (For example: What happened tayou? Who did what?
Was anyone else involved? Who else saw what happened?)

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IV.

Background

In November 2015, Captain (then Lieutenant) Powell and I had a minor argument on
the phone during which he threatened to terminate the licensing I had through the
DEC. Not long afterward, I have reason to believe he riled up my neighbors and
colleagues making derogatory remarks about me and my facility and sending around
gossip and rumors about the same things. He also breached confidentiality. He never
gave the Plaintiff a chance to abide by his expectations, even though they seemed to
be different than those used for other licensees similarly situated. His approach was
"one strike and you're out". Powell then imposed punishment on my family and I by
manipulating town authorities to threaten my parents with tens of thousands of dollars
of fines for things which weren't even wrong with their property. He had another officer
tell me I had to get rid of all of my animals and take down all of the fencing, etc. down
even though everything was licensed and legal. This is my business and a way to earn
a living. He then collaborated with the person who stole my animals in July 2017 by
passing around rumors that I was an animal abuser and starve animals, etc. None of
this was true. Not to mention, I've never been cited for such things to this day. He has
created an entire fable around my business and I instead of dealing with reality. He
manipulated and had undue influence over potential witnesses having them lie for him
to back up his lies. One witness stated he was upset when the officers, presumably at
the command of Powell, tried getting him to say he was black marketing animals with
me which wasn't true at all.

My licensing was misrepresented causing prejudice against me in the repossession of
my animals. There are many more items but those will be included in the Amended
Complaint.

James Farquhar and Joe Therrien have been interfering covertly with a case of mine
and causing prejudice and conferring with the lawyer for the opposing side concerning
my licensing which is being misrepresented. There are also at least two documents
written for the defendant about me, the case and my licensing but they will not give
me a copy but they have given a copy to the defendant, who was licensed just as I was
sO we were on equal footing and should have been treated that way.

Injuries

If you sustained injuries related to the events alleged abave, describe your injuries and state what medical

- treatment, if any, you required and did or did not receive.

I sustained no physical injuries related to the actions of the Defendants which necessitated medical attention.

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

As a self-represented litigant, I do not know whether many things are within the jurisdiction of the Court.
Hence, I realize 1 may request relief that may be inappropriate despite my best efforts to research and seek
guidance from attorneys to prevent such inappropriate requests. As a result, I understand that some
requests may be denied based on the fact that the Court does not have the ability or jurisdiction to provide
certain types of relief I may request.

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With that in mind, following are the requests for relief based on the details in this complaint.

1. DECLARATORY JUDGMENT on the status of my licensing at the time | boarded my animals on
April 23, 2017 as well as during the month of July 2017 when I became aware of my animals having
been taken illegally out of New York State and how long the validity of my licensing remained intact
before the Commissioner's final determination on revocation of the license on November 7, 2018. The
license in question is the License to Collect & Possess #623.

2. DECLARATORY JUDGMENT
Transparency.
A. ORDER for DEC

(1) to provide me a copy of the "phone summary"! and "orders"? which were mentioned in the
November 8, 2017 email? by Therrien to Tyler Thomas and to which Tyler alluded in the
factbook post of December 6, 2019,‘ respectively. These documents should be given to me
since they've been given and passed around among other members of the public. In fact, |
cannot be sure they didn't make it to the judge who dismissed my case in Leo v Thomas since
the defense attorney would likely not be above doing something such as sending him the
documents along with his motion for summary judgment or at another time during the case.

(2) There are also emails which should also be unredacted and sent to me which will also be
included in the attachments to the amended complaint/petition.®

(3) to cease any collaboration with Tyler Thomas or any other individual or business that has any
animals or other property of mine, in preventing the return of the property, especially if it is
under order from a court of law. They should also be made to cease involvement, including
advice, pertaining to legal proceedings in which they are not a party. Any other acts which
result in prejudice against me, legally or otherwise, should also be ceased. Inflammatory
remarks, including false accusations, should be immediately ceased as well as any breach of
confidentiality.

(4) I request the DEC is ordered to remove the Commissioner's final decision notice from their
website since J am getting threats and many angry remarks from DEC supporters and those
who receive "incentives" to help the DEC with their cases, such as those being rewarded with
free animals taken, sometimes unlawfully, from people the DEC targets for political and/or
personal reasons. It is also important to note that 1 have directly requested the DEC, in the
recent past, to remove the notice due to concerns for my safety and that of my business. They
promptly refused and in fact, promoted the page to the public. This is quite hypocritical for
an agency who passes stifling prohibitive restrictions against the possession of almost every
kind of exotic animal due to the agency's alleged "concern" for public welfare and safety yet
they may be encouraging those threatening me to act on those threats. Clearly, there is very
little concern for the welfare and safety of others on the part of the Department. .

(5) I request both agencies, the DEC and USDA, cease any and all retaliative efforts, be they via
the DLE officers spinning a yarn at my expense passing around inflammatory remarks and
gossip about me and my affairs or via the legal process. I also should not experience any
retaliation from either agency when I ask my legislative representatives to oppose the adoption
of regulations or other matters the agencies come up with which may be the focus about which
I work with legislators.

 

' refer to phone summary exhibit

? refer to “orders” exhibit

3 refer to attachment which contains email between Therrien and tyler
4 refer to attachment with orders facebook post

5 make exhibit with redacted emails to be unredacted and sent to me

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B. ORDER for USDA.

(1) The USDA was dishonest with me in regard to one of my foia requests® for documents’ held
by their IES department stating that the documents I requested were destroyed as they were
kept for only one year, per policy. This is incorrect as IES policy is known to keep documents
for six years and the documents are not destroyed and need to be turned over to me.

(2) It is clear the USDA has used two sets of varying standards between other individuals,
especially staff members and other licensees and I. Violations of federal and state laws should
be managed consistently and fairly.® I ask the Court to mandate the treatment of both staff
members and licensees or any other individuals to be by the same standards given the severity
of the misconduct. Given the multitude of violations by Tyler Thomas alone, termination of
his federal Exhibitor's License should be considered as is the USDA mandating the return of
my animals and working with Thomas in returning them to me.

(3) I request the USDA remove any derogatory information of me from their sites and any others
under their control. Such information would include inspection reports, ALJ decisions as well
as those from the Judicial Officer who hears appeals.

(4) Staff members like Andrea D'Ambrosio should also be held accountable for the damage she
has done to both my business and my personal life with false accusations and colluding with
the DEC in terminating licensure so I can never possess animals again. The extremism of this
conduct and end-result is especially concerning, especially when an agency allows such to get
to this level of extremism.. I should not be treated like a person convicted of felony animal
cruelty, especially when I've never had even so much as a civil violation citing me for such.
Staff members on both the state and federal levels should be made accountable for the
resources they've wasted in waging such a personal, extreme and unlawful war against a small
business owner who has been made out to be someone she is not in lieu of conducting good-
faith investigations in matters which relate to me.

(5) I request amendments to my past USDA Animal Welfare inspection reports in which | believe
I've been cited incorrectly. For instance, I was cited by D'Ambrosio for not arranging for a
person to clean the animal enclosures daily when I was out of state for three days. Yet, when |
did exactly that during my surgery in April 2017, she intervened and told the colleague who
stole my animals that he should take as many animals as he can without the intention of ever
returning them. The USDA should not have an inspector telling a licensee one thing then
acting against her when she follows the inspector's instruction to avoid a similar citation under
similar circumstances in the future.

Another incident was when I was cited for something out of my control. A few additional
incidences in which I was cited by D'Ambrosio were improper due to my not breaking any
regulations of the Animal Welfare Act. One example of such a citation is the time I was cited
for of containers stacked on top of each other and being near a few animals in their cages
(which would be okay if the containers held materials which pertained to the animals that were
caged closest to the stacked containers). They were neatly stacked, and they did contain
materials specific to the animals which were closest to the containers. However, D'Ambrosio
did not take into consideration my statements rendering the arrangement and location of the
containers appropriate and therefore not an item for which I should be cited.

I was also cited for an enclosure not being clean when it was. In fact, I had picked the waste
out of it the night before and dropped fresh foundation covering the entire floor of the
enclosure.

 

® foia request denied due to alleged destruction of IES records
7 usda documents redacted in foia
8 According to Executive

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There is also a way the inspectors are trained to write the inspection reports in which specific
words are used as well as terms and wording which make things sound worse or even imply a
more severe violation. For instance, if a wild animal, such as a raccoon, were to reach

through the chain link fabric of an enclosure in order to pick food out of the food dish attached
to the side of an enclosure, and the animal inside the enclosure protests and challenges the
raccoon, both animals stand to get hurt, especially the domesticated animal which is in the
enclosure. Most, if not all, of the facilities I've seen to date, do not have a second layer of
smaller mesh hardware cloth lining the bottom of the perimeter of the enclosure to prevent
animals from reaching in or out. Most people don't even think about an animal reaching in to
grab food and possibly injuring the animal inside the enclosure. However, something like this
occurred to me and I have been cited for it and given grief about it by Dr. Goldentyer when it's
clear it was either a good-faith mistake or something which could (and does) as easily happen
to any other licensee situated similarly to me as an exotic animal and facility owner.

It's impossible to foresee every type of possible cause of injury for an animal. In fact,
D'Ambrosio, as my ACI, didn't even think about it while she saw the enclosure being built
during one of her inspections.

The sign of the sincerity of the licensee is whether or not she applies a safety measure in order
to prevent the same thing from happening again. For instance, moving the food bowls to the
center of the enclosure and/or placing a smaller mesh hardware cloth or livestock panel around
the bottom perimeter of the enclosure. This had been done in my case.

Another case was me given a citation for one 8' section of the perimeter fence being down
when D'Ambrosio arrived to conduct a routine inspection.

C. ORDER for both agencies; that is, the DEC and the USDA

(1) Supervisory staff of those who have committed misconduct, both on the state and federal
levels, should also be held accountable for failure to address the misconduct and in fact,
going along with it and being apart of it instead. Supervisory staff in the DEC would
partially consist of James Farquhar, who is the manager of Joseph Therrien of the SLU
and Tonya Hadijis, as well as Betty Goldentyer of the Animal Care/Welfare Unit of the
USDA-APHIS, were also aware of D'Ambrosio's misconduct and instead of protecting the
licensee against the misuse of her position, the supervisors chose to condone it and, like
the state agency, go along with and become apart of the misconduct. If staff members
were held accountable, such misconduct would be much more of a rarity than it is now.

(2) to revoke or terminate the licensure of the colleague who boarded my animals, Tyler
Thomas. He is in clear violation of federal laws such as The Animal Welfare Act, the
Endangered Species Act and the Lacey Act as well as the provisions of his licensing
through the USFWS and the USDA. New York State laws which have been violated are
numerous ECL and 6 NYCRR provisions which forbid the acquirement of animals via
unlawful sources (if I was supposedly unlawfully possessing my animals prior to boarding
them with Thomas), possessing animals without proper licensing, not documenting export
of all animals, including the endangered species in his collection of animals. The DEC
writing "orders" for transporting and disposing of my animals occurred after Thomas
already had the animals imported into Texas and the animals weren't given to him as they
were still owned by me. The state cannot give away property belonging to someone else;
especially, in this case, since I was indeed licensed properly to have them for exhibition.
For mere possession, the animals do not need to be licensed as they can be apart of a
personal collection. The DEC should also be mandated to work with the Texas Parks &
Wildlife Department in levying charges against Thomas for the unlawful import,

(3) possession, exhibition, transport, etc. of animals which are supposed to be licensed under
Texas conservation law. Lack of documentation and import certificates are also
violations. There even was a likelihood Thomas trapped a wild badger and exported the
animal out of Texas state without proper licensure. He had a trapping license but that did

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not authorize him to keep the animal in captivity for his own profit or for any other
reason. He is supposed to apply for an additional state license in order to deal in animals
caught from the wild in Texas.

His USFWS license should also be revoked since he left a red-tailed hawk in the
possession of his family in New York when he moved to Texas with the rest of the
animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
"no animals" at his facility when she stopped by for the last inspection of his in 2017 after
he had moved to Texas. In fact, he had several animals still in his New York State facility
in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
he has.

Just because he was encouraged to do certain things by government departments doesn't
mean he should be considered not to have violated the law. In fact, he is also acting under
the color of law by colluding with the DEC and USDA committing unlawful acts and
violating a plethora of laws. The the government too should be held accountable for
violating the laws; especially when they then hypocritically turn around and make
worthless allegations against me for doing so with little to no evidence to substantiate
such charges. The state assured my conviction and licensure revocation by prejudicing my
opportunity for fair hearings and decision-makers presiding over such hearings.

This is an extremely dangerous agency which revels in its place as a dictator of the people
of this state. Countless rights have been denied to the people and because they get
deference from the judiciary, they continue to abuse the trust of the public by the unjust
and exclusive management of natural resources as well as management of our personal
property; the latter of which should not be occurring at all. The Plaintiff in this matter
respectfully requests the Court to take such matters into consideration when deferring to
this agency if it does at all. In this matter, especially, the agency should not enjoy
deference at all as this is energy pushing their unlawful imposition of an agenda of special
interests and cruel treatment of the public. It is time the agency finally is held accountable
in order to curb their misconduct which they so egregiously perpetrate against anyone
exercising his or her rights.

There are also several other licensees who have been harboring wildlife and/or exotic animals
illegally who should also face termination of licensure, both state and federal.

A. Staff members of both the state and federal agencies involved should be terminated
immediately and forbidden from working, volunteering, or associating themselves with
public service agencies ever again.

1. Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
violating state conservation laws as well as laws concerning breach of privacy, violation of
constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
process by using zoning and non-zoning violations in order to destroy my business when there
was no need to do so, especially in that matter. They should also be held accountable for
conspiracy, aiding and abetting and failing to investigate and giving false citations to me.

2. Joe Therrien, James Farquhar and Paul Stringer misrepresented my licensing in order to
prejudice me in the return of my animals which I own. | had licensing until November 7, 2018
and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
all animals which were yet to be returned to me by the other licensee/my colleague with whom
I boarded the animals. All three staff members knew this, and this is why they are acting
against my interests and rights secretly passing out documents they have written containing
derogatory, mostly likely false, information pertaining to my ownership of my animals, my
business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
accusation but one which puts most people in instant judgment against the person against

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whom such an accusation is made. I cannot be certain if such documents made it to the judge
in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
contacted the judge for the dismissal in order to avoid a jury trial.

3. Andrea D'Ambrosio should be held accountable with unlawful interference with a
contract/business relationship and/or opportunity, conspiracy, aiding and abetting, defamation,
false accusations, violations of the Animal Welfare Act and failure to conduct good-faith
investigations concerning the case of stolen animals.

4. DEC- failure to enforce laws, rules, and regulations. failure to acknowledge redress I
attempted and providing or blocking any recourse I could have for relief against unfair
treatment by the agency.

5. USDA - same as for the DEC described in previous paragraph.

Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose. such as to harass, cause
unnecessary delay. or needlessly increase the cost of litigation; (2) iy supported by existing law or by a
nonfrivolous argument for extending, modify ing, or reversing existing law: (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint othenvise complies with the
requirements of Rule iT.

A. For Parties Without an Attorney

1 agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served, | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: August 23, 2020

   
   

Signature of Plaintiff

Printed Name of Plaintulk Carrie M. | co

 

Sworn tofbefore me this 23% day of November 2020

Hust)

 

v Public Notary’

LAURELS FREDL .
Notary Pubhc State af New Yorx
NG. 070R6382306

 

 

 

Qualified in Wayne County
My Coramiss:an Cxpires Nev 13, 2022

 

 

> Even after 1 requested the Animal Care Division staff to not allow D'Ambrosio close to any information concerning me and my
business since she was no longer associated with me as an animal care inspector, the management still put her and her supervisor,
Tonya Hadijis, as main contacts for "investigating" the animal care complaints ] submitted. Of course, the information 1 sent in or
noted was not even accessed, much less considered as part of the investigation by D'Ambrosio. It makes no sense to put a person

wre is implicated in a complaint as “investigator” of the complaint. Clearly, they will cover up their involvement and that is exactly
what she did.

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United States Marshals Service See “Instructions for Service of Process by US, Marshal"
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PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New York Department of Environmental Conservation & the United States Department of Agriculture sum mons
and the following INDIVIDUALS jin their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN ~ Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal
Care Inspector and “Johnfjane Does 1-15

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

William Powell, Division of Law Enforcement
SERVE The New York State Department of Environmental Conservation

AT ADDRESS (Street or RED. Avarmnent No.. Citv, State and ZIP Cade}

c/o New York State Office of the Attorney General
service in-person: Empire State Plaza, Justice Building, 2"! Floor, Albany, NY 12224
service by mail: The Capitol, Albany, NY 12224-0341

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road —aae
eck for service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: 9 A.M. to 5 P.M.
General Phone # (518) 776-2300

 

  

 

 

 

 

Signature of Attorney other Originator requesting service on behalf of: ml P _ | TELEPHONE NUMBER DATE
Xx ([] DEFENDANT (315) 538-8316 March 29, 2021
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
acknowledge receipt forthatotal | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 ifmoare
than one USM 285 is submitted)

Thereby certify and return that I (] have personally served , CT have legal evidence of service, [J have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

No. No.

 

 

 

 

 

 

(J Ihereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

Name and title of individual served (ifnot shown above) Date Time (J am
CJ pm
Address (complete only different than shawn above} Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Siteet >>
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Lea,
Plaintiff,
“Yo
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No. 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
J]GSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) New York State Department of Environmental Conservation
William Powell, Division of Law Enforcement
c/o New York State Office of the Attorney General
Empire State Plaza
Justice Building, 2nd Floor The Capitol
Albany, NY 12224-0341 Albany, NY 12224-0341

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _

 

Signature of Clerk or Deputy Clerk
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Pro $815 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT

 

for the
Western District of New York State
Fourth Division
CaseNo, _20-6v-7039
(o bofilled in by the Clerk's Office)
Plaintiffs)
=y- ) Jury Triak (check one) &) Yes Cl No
‘New York State Department of Environmental )
Conservation & the United Stated Departmentof )
Agriculture and the following INDIVIDUALS, in)
their individual and official capacities: BASIL )
SEGGOS - Commissioner, SONNY PERDUE-
Secretary, WILLIAM POWELL - }
Lieuteanant/Captain,DEC Division of Law )
Enforcement, JOSEPH THERRIEN - Director, DEC j
Special Licenses Unit, ANDREA D'AMBROSIO- —y
USDA Animal Care Inspector and *John/Jane Does —)
HI-15. )
Defendant(s) — )

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

 

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concems resulting from public access to
electronic court files. Under this rule, papers filed with the court should of contain: an individual's full social
security number or full bith date; the full name ofa person known to be a minor, or a complete financial account
number. A filing may include onlp: the last four digits ofa social security number, the year ofan individual's
bith; a minor's inifials; and the last four digits ofa financial account number.

Except as noted in this form, plaintiffneed not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed m
forma pauperis.

 

 

* may be individuals who work for the government or those who do not.
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Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

The Parties fo This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiffnamed in the complaint. Attach additional pages if

needed.
Name Carrie M. Leo
Address 3199 Walworth Road
Walworth NY 14568
City State Ziv Coda
County Wayne
Telephone Number /(315)538-8316 :
E-Mail Address carrieleo 15@gmail.com
The Defendant(s)

Provide the information below for each defendant named m the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages ifneeded.

Page 2 of 14

Defendant No. 1
Name New York State Department of Environmental Conservation
Job or Title Gffnown)
Address 625 Broadway
Albany NY 12233
Civ State Zio Code
County Albany
Telephone Number (518) 402-8401
E-Mail Address (ifimown)
Defendant No. 2
Name Basil Seggos
Job or Title (ifknown) Commissioner
Address 625 Broadway .
Albany NY 12233
City State Zio Cade
County Albany
Telephone Number (518) 402-8401
E-Mail Address (iflnown) unknown
Individual capacity ' Official capacity
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 61 of 97

Pro Se-15 (Rev. 12/16} Complaint for Violation of Civil Rights (Non-Prisones)

Defendant No. 3
Name
Job or Title (fhnown)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 4
Name
Job or Title (fkunwn)
Address

County
Telephone Number
E-Mail Address gf known)

Defendant No. 5

Name
Job or Title (if known)
Addrass

County
Telephone Number
E-Mail Address (fawn)

Defendant No. 6
- Name
Job'or Title dfknown)
Address

County ;
Telephone Number
E-Mail Address (fknown)

United States Department of Agriculture

1400 Independence Avenue, S.W. .

20250

 

 

 

 

 

Washington DC 250
City State Zip Cade

District of Columbia

202-720-2791 ;

Individual capacity Official capacity -

Sonny Perdue _

Secretary — - oe

1400 Independence Avenue., S.W. ee

Washington DC 20250 —
City State Zip Code

District of Columbia

202-720-2791 _ ;

Individual capacity Official capacity

Joe Therrien

Director, Special Licenses Unit

625 Broadway, 5 Floor

Albany, NY 12233-7011
City State Zip Cole
Albany
218-402-8985

 

joseph.therrien@dec.ny.zov

Individual capacity ‘

William Powell

Official capacity °

 

 

Lieutenant/Captain, Division of Law Enforcement. _

6274 East Avon-Lima Rd.

 

 

 

 

 

 

Avon, NY 14414-9519
City Stale Zip Cote
Livingston
8-226-6706 -
william.powell@dec.ny.gov
Individual capacity Official capacity -

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Pro Se 35 (Rev. 12/16} Complaint for Violation of Civil Rights (Non~Prisoner)

Defendant No. 7

 

 

 

 

 

 

: Name . Andrea D'Ambrosio
Job‘or Title gf hnown) Animal Care Inspector
Address . 1400 Independence Avenue, S.W.
Washington, B.C, 20250
; City State Zip Code
County District of Columbia
Telephone Number 202-720-2791
E-Mail Address gif kaown)

 

Individual capacity ° Official capacity °

Basis for Jurisdiction

Under 42 U.S.C, § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Equal treatment under the law, freedom of speech, freedom of petition, freedom from
unreasonable searches and seizures, right to due process of law, rights of accused person,
freedom from cruel and unusual punishment, freedom to enjoy one's own property, freedom to
not have property taken by the government without just compensation and freedom of
establishing ones own business.

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional nghts. Ifyou
are suing under Bivens, what constitutional night(s) do you claim is/are bemg violated by federal
officials?

Due process, property rights, equal treatment under the law, chance for recourse/redress and
false accusations/defamation.

Section 1983 allows defendants to be found liable only when they have acted “under color ofany
statute, ordinance, regulation, custom, or usage, ofany State or Territory or the District of Columbia."
#2 US.C. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color

of state or local law. Ifyou are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages ifneeded.

On or around November 7, 2015, the Division of Law Enforcement of the DEC visited my
wildlife center due to a neighbor contacting the agency about my having wild animals. I was
duly licensed by the DEC and USDA to possess and exhibit wild and exotic animals. Although

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Pro Se15 (Rey. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
NSS err rnce ep a RTS

the officers saw nothing of concern after touring the center, they returned on May 10, 2016
demanding another tour of the facility for an "inspection" and seizing a pack of six adult coyotes
I possessed with the authority of my wildlife rehabilitation license through the DEC.

Two to three days afterward, the town zoning officer cited my stepfather, the landowner, for two
alleged violations. On or around July 26, 2016, the DEC cited me with eleven citations mostly
for possession of coyotes. The charges were resolved with a plea to two civil violations of my
keeping opossums in hospital cages in the barn during the winter and for submitting an annual
log for one of my licenses late; two alleged violations which are committed by other licenses
frequently without citation or discipline.

In 2017, I became aware of Lt. Powell and Officer Thomas from the DEC acting against my
business by making me take the entire center down even though it was constructed legally, and
the town know of it. In fact, one of the zoning officers visited the center in or around December
2015 to look around and was given a tour of the entire facility. The zoning officer saw nothing
of concern.

The DEC was not going to settle without my full surrendering of all licensure and the relocation
of all animals, which was an extreme measure for a business which was duly licensed and
operating within the confines of the law. The center even offered a community service of wildlife
rehabilitation which was done on a volunteer basis and financed from personal funds and a few
donations.

In April 2017, I boarded three animals with a colleague and friend J trusted at the time while |
recovered from surgery. I boarded the animals in order to maintain the standard of care for the
animals by temporarily keeping them with someone who could take care of them full-time until
I recovered. However, without my permission and knowledge, the colleague took the animals
out of New York State, with the help of specific staff members of the DEC and USDA and
imported them illegally into Texas State.

Since then, I have been vying in court to gain repossession of the animals only to have
interference from the DEC and USDA in convincing my colleague that I didn't have the proper
licensing to keep the animals. Even though an attorney from the DEC's Office of General
Counsel confirmed for me in writing that my licensing was, in fact, valid to have not only the
animals back from my colleague but that I could have additional animals listed on the license
if I were to obtain more animals, which | didn't plan on.

I was granted a preliminary injunction on September 10, 2018 (and amended on May 2, 2019)
for the return of my animals. By then, the Defendant started to allege, one by one, the animals
were either stolen or deceased. However, evidence which I've gathered since then shows
otherwise. The Defendant's attorney opted to use a number of highly unethical methods in
prejudicing my repossession of the animals and teamed up with the DEC (and possibly the
USDA).

The DEC has been giving the Defendant information and other documents which | have reason
are prejudicing me against the assertion of my rights. Although I've asked for copies of the
documents since they clearly had to do with me and my licensing of my animals and business,
they have never given me copies.

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—_—_—$—_—_—$—$—_[—=_—$_!—$_———————

I have also become aware of Lt. Powell, Joe Therrien, James Farquhar, Andrea D'Ambrosio and
Tonya Hadijis (the former two from the DEC and the latter two from the USDA) acting against
my interests and rights secretly by protecting the person who still has possession of my animals.
I have sought assistance from everyone I can think of, including all the way up the "ladder" of

authority, so to speak, to the Commissioner of the DEC and the Secretary of the USDA only to

be met with hostility or indifference.

In order to discredit me, both agencies have used the law to accuse me of violating laws which
either don't exist, or have been improperly applied. In the meantime, DEC officials, namely
Powell and Therrien, have incited my neighbors to act against me, including the vandalism
of my center twice and unlawful release of my animals when I wasn't around the premises.
Local (town, county) authorities and officials have been turned against me based on severely
derogatory and personal statements made about me by Lt. Powell and Officer Kevin Thomas -
the DEC Division of Law Enforcement officers who work in my region, referred to by the DEC
as "Region 8."

My state licenses were either denied renewal in an untimely fashion or revoked while the
Department violated a multitude of regulations and rules during the process it took in doing so.
Presently, the USDA is now invoking a proceeding to terminate my federal license simply
because the state license was revoked. During any consideration the Department may have given
concerning my licensing, I have had literally no say whatsoever, even and especially, in the
hearing which was held to revoke one of my state licenses on March 13, 2018 (the license was
revoked by final determination by the Commissioner on or around November 7, 2018). Although
I gave testimony, the Department chose not to believe anything I said.

Recently, I have become aware that I am being defamed by the same staff members mentioned
in this summary as I've been accused (not directly, of course) for animal cruelty, such as starving
animals, etc. Powell has solicited false testimony in manipulating potential witnesses to say
things about me which aren't true and for which there is no evidence or evidence which squarely
contradicts statements he has coached other people to say against me.

My business and reputation are destroyed and because having a business with exotic animals was
a dream of mine towards which I had been working for years, I used all of my resources, including
financial, in establishing the business I worked so hard to create and maintain along the letter of
the law.

 

New York State Department of Environmental Conservation staff members Joe Therrien, Paul
Stringer, William Powell and James Farquhar! misrepresented the licensing I had through the
Department's Special Licenses Unit telling a person who was boarding animals for me that I didn't
have the authority to possess such animals. However, the two licenses I had through the
Department, the License for Wildlife Rehabilitation (LWR) and License to Collect & Possess
(LCP) were valid for the year 2017 and most of 2018, respectively.

While talking to other individuals about my licensing, the Department repeatedly refused to give
me status on my licenses never returning calls, emails, or letters. Even though my License to
Collect & Possess continued to undergo rolling renewals annually in July 2017 and July 2018, I
was never given an updated paper license, even though J had requested one. It is standard practice
to give every licensee a paper version of their licenses

However, when the colleague who boarded my animals contacted the SLU, he was not ignored

at all and in fact a conspiracy developed between him and the Department in preventing the return
of my animals even though this was

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Pro Se'35 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

part of the contract to which we both agreed before the boarding arrangement took place on or around
April 23, 2017. Eventually the renewal applications for both licenses I sent to the Department were denied
months after the 45-day deadline for the Department to respond or else there would be an automatic
approval of the application. Technically, the applications were renewed automatically, and the LWR's
new expiration date is 12/31/2022 and then LCP undergoes annual rolling renewals.

I also have reason to believe the Department has helped the person who stole my animals fabricate an
entire fable about me by justifying and telling members of the public and other authority figures that may
enter the scene occasionally that I had the animals taken away from me due to neglect and/or cruelty and
I wasn't licensed for them; both of which are not true. If this was the truth, then the individual who
boarded my animals would also be in violation of the law then, as it is prohibited by virtue of all of his
state and federal licensing conditions to acquire animals from an illegal source. Since then, however, he
has exported the animals from New York State, traversed a number of states in traveling to Texas,
imported the animals into the state, including his own menagerie (which includes endangered species),
unlawfully. He continues to possess all of the animals illegally to this day only carrying federal licensing
to exhibit without respecting Texas state law and licensing indigenous species, furbearers, and endangered
species. The three animals he took from me where all furbearers (fox, fisher and badger) and two were
from species considered indigenous to the state of Texas.

It is clear he is passing around documents given to him by the DEC which have been referred to as a
"phone summary" by Therrien in an email on or around November 8, 2017 which he states was written
and given to my colleague. Another reference to yet another document was made by my colleague was
on December 6, 2019 when he stated he had "orders" to "transport and dispose" of my animals. The
Department has given me no notice whatsoever that any possession of my animals up to the time my
colleague boarded them was unlawful and they knew what live inventory I had at the time as well.
Furthermore, I was never given any notice of "orders". In fact, I've requested copies of the documents
numerous times from both my colleague and the Department to no avail. There is this "secret conspiracy"
or collaboration between my colleague and the DEC as_ well as at least one staff member in the USDA
working to keep my animals from returning to me. For mere possession, the animals do not need to be
licensed - only if they are exhibited.

I have also been confronted by individuals who have spoken to Powell and possibly other officers who
have made derogatory and untrue remarks concerning me, my business and character. These statements
occurred during pending cases in which the Department cited me excessively and unfairly for the
possession of wild animals which were authorized by the licensing | had at the time for wildlife
rehabilitation. In addition to the fact that the Department tried entrapping me by refusing to process my
amendment requests and renewal applications for the rehab and long-term possession license (LCP),
according to their own regulation, the requests and renewals were already approved automatically at the
45-day deadline for the Department to send notice to the licensee of its decision to approve or decline
amendment requests and licensing renewals.

The United States Department of Agriculture Animal Care Inspector, Andrea D'Ambrosio, encouraged
my colleague to take as many animals as possible from my center with the intent not to return them. She
also suggested an agister's lien for the return of my animals. This denies due process rights as well as aid
the commission of fraud and possibly other torts. covering up and allowing numerous violations of law
by my colleague which led to his violation of at least three federal laws, in addition to a multitude of New
York and Texas State Conservation Laws.

Furthermore, the animal care complaints I filed with the USDA were "investigated" by D'Ambrosio who
did not put forth good-faith effort in determining what happened to my animals. In fact, ] have reason to
believe she told others, such as SBA Ombudsman, Steve Bennett, that I "forfeited" the animals, which,
again, is untrue. Another inspector who responded to one of the

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Pro Se-15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

Ti.

animal care complaints and did an inspection of the facility at which my colleague kept my animals in Texas
failed to verify any state licensing, including export and import documentation. If she had, she would have
seen that his activity with the animals was unlawful. However, it is likely the inspector was "under the
thumb" of D'Ambrosio who was protecting my colleague as she too was collaborating with the New York
State Department of Environmental Conservation in keeping my animals from me. This, from my
understanding, is still occurring to this day.

While the above mentioned staff members and my colleague are violating a host of laws and have been in
this case for years, I had my LWR untimely denied, my LCP revoked through a process during which the
Department violated many of its own rules governing proceedings for licensing revocations and am currently
fighting to keep my USDA Exhibitor's License. Yet the staff members have suffered no ill effects from
violating my civil rights and breaking the very laws they are charged to uphold and enforce. Nor is my
colleague required to follow the law and has broken far more than I had been accused of violating since this
case began yet he still has yet to experience even one citation. He currently continues to possess my and his
animals in the State of Texas unlawfully.

All efforts of mine at recourse or redress have been unsuccessful. In fact, my latest attempt with the USDA
appears to have spurred their current attempt to terminate my federal exhibitor's license. The effect of the
termination will be the inability of me to exhibit my animals to the public and run breeding projects, which
is what the ultimate goal of DEC's and USDA's involved staff members are although they will not admit it
publicly. These people are putting forth extreme effort in an even more extreme end result - especially for
someone who does not deserve it.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations ofall relevant events, You may wish to include
further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. Ifmore than one claim is asserted, number each claim and waite a short and plain
statement ofeach claim in a separate paragraph. Attach additional pages ifneeded.

A Where did the events giving rise to your claim(s) occur?

Much ofthe allegations coming from the authorities occurred at my center in Walworth, NY. They
are specified in the longer narratives contained herein. Other circumstances occurred during the case,
Leo v Thomas Index No. 2017-1668 pending m the New York State Supreme Court of Jefferson
Coumty and is currently on appeal.

B. What date and approximate time did the events giving rise to your claim(s) occur?

This matter has been going on from the first Saturday ofNovember 2015 to the present day. However,
I did not become aware of the damage and intentions ofthe DEC and USDA until later. There are
various dates such as dates when certain inflammatory statements were made, dates when
misrepresentations of law were being made both in and out of Court especially when the preliminary
injundctton was granted for the retum ofmy animals., etc.

Included as an attachment (will be included in the Amended Complaint/Petition) is a timeline

incorporating the various dates as they correspond to the actions of the DEC, USDA and other parties

and non-parties involved in this civil rights case.

Cc. What are the facts underlying your claim(s)? (For example: What happened toyou? Who did what?

Was anyone else involved? Who else saw what happened?)

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Pro Se 15 (Rey, 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

IV.

Background

In November 2015, Captain (then Lieutenant) Powell and J had a minor argument on
the phone during which he threatened to terminate the licensing | had through the
DEC. Not long afterward, I have reason to believe he riled up my neighbors and
colleagues making derogatory remarks about me and my facility and sending around
gossip and rumors about the same things. He also breached confidentiality. He never
gave the Plaintiff a chance to abide by his expectations, even though they seemed to
be different than those used for other licensees similarly situated. His approach was
“one strike and you're out". Powell then imposed punishment on my family and I by
manipulating town authorities to threaten my parents with tens of thousands of dollars
of fines for things which weren't even wrong with their property. He had another officer
tell me I had to get rid of all of my animals and take down all of the fencing, etc. down
even though everything was licensed and legal. This is my business and a way to earn
a living. He then collaborated with the person who stole my animals in July 2017 by
passing around rumors that I was an animal abuser and starve animals, etc. None of
this was true. Not to mention, I've never been cited for such things to this day. He has
created an entire fable around my business and I instead of dealing with reality. He
manipulated and had undue influence over potential witnesses having them lie for him
to back up his lies. One witness stated he was upset when the officers, presumably at
the command of Powell, tried getting him to say he was black marketing animals with
me which wasn't true at all.

My licensing was misrepresented causing prejudice against me in the repossession of
my animals. There are many more items but those will be included in the Amended
Complaint.

James Farquhar and Joe Therrien have been interfering covertly with a case of mine
and causing prejudice and conferring with the lawyer for the opposing side concerning
my licensing which is being misrepresented. There are also at least two documents
written for the defendant about me, the case and my licensing but they will not give
me a copy but they have given a copy to the defendant, who was licensed just as 1 was
sO we were on equal footing and should have been treated that way.

Tajuries

If you sustained injuries related to the events alleged abave, describe your injuries and state what medical
treatment, ifany, you required and did or did not receive.

I sustained no physical injuries related to the actions of the Defendants which necessitated medical attention.

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

As a self-represented litigant, I do not know whether many things are within the jurisdiction of the Court.
Hence, I realize I may request relief that may be inappropriate despite my best efforts to research and seek
guidance from attorneys to prevent such inappropriate requests. As a result, I understand that some
requests may be denied based on the fact that the Court does not have the ability or jurisdiction to provide
certain types of relief I may request.

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

With that in mind, following are the requests for relief based on the details in this complaint.

1. DECLARATORY JUDGMENT on the status of my licensing at the time I boarded my animals on
April 23, 2017 as well as during the month of July 2017 when I became aware of my animals having
been taken illegally out of New York State and how long the validity of my licensing remained intact
before the Commissioner's final determination on revocation of the license on November 7, 2018. The
license in question is the License to Collect & Possess #623.

2. DECLARATORY JUDGMENT
3. Transparency.
A. ORDER for DEC

(1) to provide me a copy of the "phone summary"! and "orders"? which were mentioned in the

(2)

(3)

(4)

(S)

November 8, 2017 email? by Therrien to Tyler Thomas and to which Tyler alluded in the
factbook post of December 6, 2019,* respectively. These documents should be given to me
since they've been given and passed around among other members of the public. In fact, I
cannot be sure they didn't make it to the judge who dismissed my case in Leo v Thomas since
the defense attorney would likely not be above doing something such as sending him the
documents along with his motion for summary judgment or at another time during the case.

There are also emails which should also be unredacted and sent to me which will also be
included in the attachments to the amended complaint/petition.°

to cease any collaboration with Tyler Thomas or any other individual or business that has any
animals or other property of mine, in preventing the return of the property, especially if it is
under order from a court of law. They should also be made to cease involvement, including
advice, pertaining to legal proceedings in which they are not a party. Any other acts which
result in prejudice against me, legally or otherwise, should also be ceased. Inflammatory
remarks, including false accusations, should be immediately ceased as well as any breach of
confidentiality.

I request the DEC is ordered to remove the Commissioner's final decision notice from their
website since I am getting threats and many angry remarks from DEC supporters and those
who receive "incentives" to help the DEC with their cases, such as those being rewarded with
free animals taken, sometimes unlawfully, from people the DEC targets for political and/or
personal reasons. It is also important to note that I have directly requested the DEC, in the
recent past, to remove the notice due to concerns for my safety and that of my business. They
promptly refused and in fact, promoted the page to the public. This is quite hypocritical for
an agency who passes stifling prohibitive restrictions against the possession of almost every
kind of exotic animal due to the agency's alleged "concern" for public welfare and safety yet
they may be encouraging those threatening me to act on those threats. Clearly, there is very
little concern for the welfare and safety of others on the part of the Department. .

I request both agencies, the DEC and USDA, cease any and all retaliative efforts, be they via
the DLE officers spinning a yarn at my expense passing around inflammatory remarks and
gossip about me and my affairs or via the legal process. I also should not experience any
retaliation from either agency when I ask my legislative representatives to oppose the adoption
of regulations or other matters the agencies come up with which may be the focus about which
I work with legislators.

 

"refer to phone summary exhibit

? refer to “orders” exhibit

3 refer to attachment which contains email between Therrien and tyler
* refer to attachment with orders facebook post

5 make exhibit with redacted emails to be unredacted and sent to me

Page 10 of 14
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 69 of 97

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

B. ORDER for USDA.

(1) The USDA was dishonest with me in regard to one of my foia requests® for documents’ held
by their IES department stating that the documents I requested were destroyed as they were
kept for only one year, per policy. This is incorrect as IES policy is known to keep documents
for six years and the documents are not destroyed and need to be turned over to me.

(2) It is clear the USDA has used two sets of varying standards between other individuals,
especially staff members and other licensees and I. Violations of federal and state laws should
be managed consistently and fairly.® I ask the Court to mandate the treatment of both staff
members and licensees or any other individuals to be by the same standards given the severity
of the misconduct. Given the multitude of violations by Tyler Thomas alone, termination of
his federal Exhibitor's License should be considered as is the USDA mandating the return of
my animals and working with Thomas in returning them to me.

(3) I request the USDA remove any derogatory information of me from their sites and any others
under their control. Such information would include inspection reports, ALJ decisions as well
as those from the Judicial Officer who hears appeals.

(4) Staff members like Andrea D'Ambrosio should also be held accountable for the damage she
has done to both my business and my personal life with false accusations and colluding with
the DEC in terminating licensure so I can never possess animals again. The extremism of this
conduct and end-result is especially concerning, especially when an agency allows such to get
to this level of extremism.. I should not be treated like a person convicted of felony animal
cruelty, especially when I've never had even so much as a civil violation citing me for such,
Staff members on both the state and federal levels should be made accountable for the
resources they've wasted in waging such a personal, extreme and unlawful war against a small
business owner who has been made out to be someone she is not in lieu of conducting good-
faith investigations in matters which relate to me.

(5) I request amendments to my past USDA Animal Welfare inspection reports in which I believe
I've been cited incorrectly. For instance, I was cited by D'Ambrosio for not arranging for a
person to clean the animal enclosures daily when I was out of state for three days. Yet, when |
did exactly that during my surgery in Apri] 2017, she intervened and told the colleague who
stole my animals that he should take as many animals as he can without the intention of ever
returning them. The USDA should not have an inspector telling a licensee one thing then
acting against her when she follows the inspector's instruction to avoid a similar citation under
similar circumstances in the future.

Another incident was when I was cited for something out of my control. A few additional
incidences in which I was cited by D'Ambrosio were improper due to my not breaking any
regulations of the Animal Welfare Act. One example of such a citation is the time I was cited
for of containers stacked on top of each other and being near a few animals in their cages
(which would be okay if the containers held materials which pertained to the animals that were
caged closest to the stacked containers). They were neatly stacked, and they did contain
materials specific to the animals which were closest to the containers. However, D'Ambrosio
did not take into consideration my statements rendering the arrangement and location of the
containers appropriate and therefore not an item for which I should be cited.

] was also cited for an enclosure not being clean when it was. In fact, ] had picked the waste
out of it the night before and dropped fresh foundation covering the entire floor of the
enclosure.

 

© foia request denied due to alleged destruction of IES records
7 usda documents redacted in foia
5 According to Executive

Page 11 of 14
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Pro Se-45 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)
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There is also a way the inspectors are trained to write the inspection reports in which specific
words are used as well as terms and wording which make things sound worse or even imply a
more severe violation. For instance, if a wild animal, such as a raccoon, were to reach
through the chain link fabric of an enclosure in order to pick food out of the food dish attached
to the side of an enclosure, and the animal inside the enclosure protests and challenges the
raccoon, both animals stand to get hurt, especially the domesticated animal which is in the
enclosure. Most, if not all, of the facilities I've seen to date, do not have a second layer of
smaller mesh hardware cloth lining the bottom of the perimeter of the enclosure to prevent
animals from reaching in or out. Most people don't even think about an animal reaching in to
grab food and possibly injuring the animal inside the enclosure. However, something like this
occurred to me and I have been cited for it and given grief about it by Dr. Goldentyer when it's
clear it was either a good-faith mistake or something which could (and does) as easily happen
to any other licensee situated similarly to me as an exotic animal and facility owner.

It's impossible to foresee every type of possible cause of injury for an animal. In fact,
D'Ambrosio, as my ACI, didn't even think about it while she saw the enclosure being built
during one of her inspections.

The sign of the sincerity of the licensee is whether or not she applies a safety measure in order
to prevent the same thing from happening again. For instance, moving the food bowls to the
center of the enclosure and/or placing a smaller mesh hardware cloth or livestock panel around
the bottom perimeter of the enclosure. This had been done in my case.

Another case was me given a citation for one 8' section of the perimeter fence being down
when D'Ambrosio arrived to conduct a routine inspection.

C. ORDER for both agencies; that is, the DEC and the USDA

(1) Supervisory staff of those who have committed misconduct, both on the state and federal
levels, should also be held accountable for failure to address the misconduct and in fact,
going along with it and being apart of it instead. Supervisory staff in the DEC would
partially consist of James Farquhar, who is the manager of Joseph Therrien of the SLU
and Tonya Hadijis, as well as Betty Goldentyer of the Animal Care/Welfare Unit of the
USDA-APHIS, were also aware of D'Ambrosio's misconduct and instead of protecting the
licensee against the misuse of her position, the supervisors chose to condone it and, like
the state agency, go along with and become apart of the misconduct. If staff members
were held accountable, such misconduct would be much more of a rarity than it is now.

(2) to revoke or terminate the licensure of the colleague who boarded my animals, Tyler
Thomas. He is in clear violation of federal laws such as The Animal Welfare Act, the
Endangered Species Act and the Lacey Act as well as the provisions of his licensing
through the USFWS and the USDA. New York State laws which have been violated are
numerous ECL and 6. NYCRR provisions which forbid the acquirement of animals via
unlawful sources (if I was supposedly unlawfully possessing my animals prior to boarding
them with Thomas), possessing animals without proper licensing, not documenting export
of all animals, including the endangered species in his collection of animals. The DEC
writing "orders" for transporting and disposing of my animals occurred after Thomas
already had the animals imported into Texas and the animals weren't given to him as they
were still owned by me. The state cannot give away property belonging to someone else;
especially, in this case, since I was indeed licensed properly to have them for exhibition.
For mere possession, the animals do not need to be licensed as they can be apart of a
personal collection. The DEC should also be mandated to work with the Texas Parks &
Wildlife Department in levying charges against Thomas for the unlawful import,

(3) possession, exhibition, transport, etc. of animals which are supposed to be licensed under
Texas conservation law. Lack of documentation and import certificates are also
violations. There even was a likelihood Thomas trapped a wild badger and exported the
animal out of Texas state without proper licensure. He had a trapping license but that did

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Pro Se-15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non-Prisones)

not authorize him to keep the animal in captivity for his own profit or for any other
reason. He is supposed to apply for an additional state license in order to deal in animals
caught from the wild in Texas.

His USFWS license should also be revoked since he left a red-tailed hawk in the
possession of his family in New York when he moved to Texas with the rest of the
animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
"no animals" at his facility when she stopped by for the last inspection of his in 2017 after
he had moved to Texas. In fact, he had several animals still in his New York State facility
in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
he has.

Just because he was encouraged to do certain things by government departments doesn't
mean he should be considered not to have violated the law. In fact, he is also acting under
the color of law by colluding with the DEC and USDA committing unlawful acts and
violating a plethora of laws. The the government too should be held accountable for
violating the laws; especially when they then hypocritically turn around and make
worthless allegations against me for doing so with little to no evidence to substantiate
such charges. The state assured my conviction and licensure revocation by prejudicing my
opportunity for fair hearings and decision-makers presiding over such hearings.

This is an extremely dangerous agency which revels in its place as a dictator of the people
of this state. Countless rights have been denied to the people and because they get
deference from the judiciary, they continue to abuse the trust of the public by the unjust
and exclusive management of natural resources as well as management of our personal
property; the latter of which should not be occurring at all. The Plaintiff in this matter
respectfully requests the Court to take such matters into consideration when deferring to
this agency if it does at all. In this matter, especially, the agency should not enjoy
deference at all as this is energy pushing their unlawful imposition of an agenda of special
interests and cruel treatment of the public. It is time the agency finally is held accountable
in order to curb their misconduct which they so egregiously perpetrate against anyone
exercising his or her rights.

There are also several other licensees who have been harboring wildlife and/or exotic animals
illegally who should also face termination of licensure, both state and federal.

A. Staff members of both the state and federal agencies involved should be terminated
immediately and forbidden from working, volunteering, or associating themselves with
public service agencies ever again.

1.

Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
violating state conservation laws as well as laws concerning breach of privacy, violation of
constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
process by using zoning and non-zoning violations in order to destroy my business when there
was no need to do so, especially in that matter. They should also be held accountable for
conspiracy, aiding and abetting and failing to investigate and giving false citations to me.

2. Joe Therrien, James Farquhar and Paul Stringer misrepresented my licensing in order to

prejudice me in the return of my animals which I own. I had licensing until November 7, 201 8
and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
all animals which were yet to be returned to me by the other licensee/my colleague with whom
I boarded the animals. All three staff members knew this, and this is why they are acting
against my interests and rights secretly passing out documents they have written containing
derogatory, mostly likely false, information pertaining to my ownership of my animals, my
business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
accusation but one which puts most people in instant judgment against the person against

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Pro Se 15 (Rev 12/16) Complaint for Vinlatian of Civil Rights (Non-Prranety

whom such an accusation is made. I cannot be certain if such documents made it to the judge
in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
contacted the judge for the dismissal in order to avoid a jury trial.

3. Andrea D'Ambrosio should be held accountable with unlawful interference with a
contract/business relationship and/or opportunity, conspiracy, aiding and abetting, defamation,
false accusations, violations of the Animal Welfare Act and failure to conduct good-faith
investigations concerning the case of stolen animals.”

4, DEC- failure to enforce laws, rules, and regulations. failure to acknowledge redress |
attempted and providing or blocking any recourse I could have for relief against unfair
treatment by the agency.

5. USDA - same as for the DEC described in previous paragraph.

Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below. | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose. such as to harass, cause
unnecessary delay. or needlessly increase the cost of litigation: (2) is supported by existing law or by a
nonfrivolous argument for eatending, modify ing, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery: and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

1 agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. [| understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: August 23, 2020

   
   

Signature of Plaindff

Printed Name of Plaintulk Carrie M. | co

 

Sworn to\before me this 23% day of November 2020

TT

" Pablie Notary : , LAUREL FREDL .
Notary Public State af New YorR
NG, O77 26382306

 

 

 

 

Qualified in Wayne County
dy Coranisston Capirus Nev 13, 2022

 

 

9 Even after ! requested the Animal Care Division staff to not allow D'Ambrosio close to any information concerning me and my
business since she was no longer associated with me as an animal care inspector, the management still put her and her supervisor,
Tonya Hadijis, as main contacts for "investigating" the animal care complaints | submitted. Of course, the information | sent in or
noted was not even accessed, much less considered as part of the investigation by D'Ambrosio. It makes no sense to put a person
who is implicated in a complaint as “investigator” of the complaint. Clearly, they will cover up their involvement and that is exactly

what she did.

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U.S. OAG

Note: The following papers have been created to support a choice of two options
- the option in which the USDA, Perdue and D'Ambrosio are included together
on one Process Receipt & Return and one Summons whereas the other option is
serving a copy of both forms tailored specifically for every individual defendant.

If there are any duplicates of any forms, they were printed accidentally and are
included in this set of papers for a backup copy should staff need one.
Cc 6:20-cv-07039- j
U.S. Department otJusiee FPG Document 16 Filed PROCESS RECHIPY AND RETURN

 

 

 

 

 

United States Marshals Service See "histructions for Service of Process by U.S. Marshal"
72
PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS

New York Department of Environmental Conservation & the United States Department of Agriculture Summons

and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and ‘JohnjJane Does 415

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

United States Department of Agriculture; Sonny Perdue - Secretary; and Andrea D'Ambrosio -
SERVE Animal Care Inspector
AT & Appress (Street or RFD. Avartment No.. City, State and ZIP Code)
c/o United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road ——_
or service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estinuted Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

—_—

ee other Originator ri
Xx

 

ing service on behalf of: RP TELEPHONE NUMBER DATE

(| DEFENDANT (315) 538-8316 March 29, 2021

  
 

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

lacknowledge receipt forthe total | Total Process | Districtof | Districtto —_| Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 ifmore

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [7] have personally served , [7] have legal evidence of service, (1) have executed as shown in "Remarks'', the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[C] Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) Date Time (J am

CJ pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG D i
US. Department of Justice V ocument 16 Filed ARQ eRSSHECEEPY AND RETURN

 

 

United States Marshals Service SeeInstructions for Service of Process by U.S. Marshal"
PLAINTIFF COURT CASE NUMBER
20-cv-7039

Carrie M. Leo
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Enforcement, JOSEPH THERRIEN ~ Director, Spacial Licenses Unit, ANDREA D'AMBROSIO - USDA Animal
Care Inspector and “Johnijane Does 41-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

United States Department of Agriculture; Sonny Perdue - Secretary; and Andrea D'Ambrosio -
SERVE Animal Care Inspector
AT & Appress /Streer or RED, Avartment No. City. State end ZIP Code)
c/o United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

 

 

 

 

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Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

 

TELEPHONE NUMBER DATE

(315) 538-8316 March 29, 2021

 

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

 

 

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number of process indicated. Origin Serve

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

Thereby certify and return that I (Cl have personally served , [[] have legal evidence of service, (C) have executed as shown in" ", the process described on the

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( thereby certify and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time (J am
[J pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
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US, Department of Suctiee YO O89 FPG Document 16 Filed’ PROCESS RECEIPT AND RETURN

 

 

 

 

United States Marshals Service See"tustructions for Service of Process by US. Marshal"
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PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New York Department of Environmental Conservation & the United States Department of Agriculture sum mons
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal
Care Inspector and “JohnfJane Does 41-15

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

Basil Seggos, Commissioner
SERVE The New York State Department of Environmental Conservation

 

AT ADDRESS /Siraer or RED. Avarimiont No.. Cite, Stare and ZIP Code)

c/o New York State Office of the Attorney General
service in-person: Empire State Plaza, Justice Building, 2"? Floor, Albany, NY 12224
service by mail: The Capitol, Albany, NY 12224-0341

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road ——
: for service
Walworth, NY 14568 onUSsA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: 9 A.M. to 5 P.M.
General Phone # (518) 776-2300

 

 

 

 

 

Signature of Attomey other Originator requesting service on behalf of: TELEPHONE NUMBER DATE
oe. [q PLAINTIEF
x( 4x (1) Derenpant (315) 538-8316 March 29, 2021
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
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(Sign only for USM 285 ifmore
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Name and title of individual served (ifnot shown above) Date Time [] am

CJ pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 77 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-V-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action Na.: 20-cv-7039
SEGGOS ~ Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and “John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) New York State Department of Environmental Conservation
Basil Seggos, Commissioner
c/o New York State Office of the Attorney General
Empire State Plaza

Justice Building, 2nd Floor The Capitol
Albany, NY 12224-0341 Albany, NY 12224-0341

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rute 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 78 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New Y ork

Carrie M. Leo,
Plaintiff,
~V~
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.: 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States Department of Agriculture; Sonny Perdue - Secretary; and Andrea D'Ambrosio -
Animal Care Inspector
UNITED STATES DEPARTMENT OF AGRICULTURE

c/o U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
US. Department of hone 6:20-cv-07039-FPG Documenti6 Filed PROCESS RECHIPY AND RETURN

 

 

 

United States Marshals Service See tt tion rice of Pracess by TS. Marshal"
PLAINTIEE “T COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
Summons

New York Department of Environmental Conservation & the United States Department of Agricultura
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL ~ Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and *JohnjJane Does 4115

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

United States Department of Agriculture
SERVE
AT &  appress /sircor or RED. Apartment No.. Citv, Stare and ZIP Code)
c/o United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

 

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW ‘Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road eae
OF Service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

 

Signature of Attorney other Originator r ing service on behalf of: TELEPHONE NUMBER DATE
. > PLAINTIFF

x ( és (2) DEFENDANT (315) 538-8316 March 29, 2021

 

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

Tacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Dat
number of process indicated. Origin Serve ignature 0} orize eputy or Cler! 8
(Sign only for USM 285 ifmore

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [7] have personally served , [7] have legal evidence of service, [Z} have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(Dy Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time ("J am
CJ pm

 

 

 

Address (complete only different than shown abave) Signature of U.S. Marshal or Deputy

 

 

Costs shown on antached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 80 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
~yv—
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.z 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) UNITED STATES DEPARTMENT OF AGRICULTURE

c/o U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employec of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Document 16 Filed PROCESS RECEPLT AND RETURN

 

 

 

 

U.S. Departinent of Justice

United States Marshals Service See “Instructions for Service of Process by US. Marshal"
PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New York Department of Environmental Conservation & the United States Department of Agriculture sum mons
and the following INDIMIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN ~ Director, Special Licenses Unit, ANDREA D'AMBROSIO ~ USDA Animal
Care Inspector and “John/Jane Does #115

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SONNY PERDUE, Secretary
SERVE United States Department of Agriculture
AT ADDRESS (Stree? or RED. Avortnant No.. Clty. State and 21P Coda)
c/o United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo ‘Number of parties to be
3199 Walworth Road —— ae
‘or service
Walworth, NY 14568 on USA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Busittess and Alternate Addresses,
All Teleplione Numbers, and Estimated Times Avatiable for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

 

Si of Attorney other Originator requesting service on behalf of TELEPHONE NUMBER. DATE
gnature y ginator se5m $ wy PLAINTIFF

x OS [) DEFENDANT (315) 538-8316 March 29, 2021

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

Tacknowledge receipt forthe total | Total Process | Districtof | Districtto —_|_ Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve = ceuty

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [7] have personally served , [1] have legal evidence of service, E] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[CJ Lhereby certify and return that Iam unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) Date Time (J am

[7] pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown ont attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 82 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-y-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No. 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SONNY PERDUE, SECRETARY
UNITED STATES DEPARTMENT OF AGRICULTURE

c/o U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Document ié6 Filed 7
U.S. Department of Justice umen ne PROCESS RECERPT AND RETURN

 

 

United States Marshals Service See “Kustructions for Service of Process by TS. Marshal"
NT
PLAINTIFF COURT CASE NUMBER
20-cv-7039

Carrie M. Leo
DEFENDANT TYPE OF PROCESS

New York Department of Environmental Conservation & the United States Department of Agriculture Summons

and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN ~- Director, Spacial Licenses Unit, ANDREA D'AMBROSIO ~ USDA Animal

Care Inspactor and ‘JohniJane Does 41-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

ANDREA D'AMBROSIO, Animal Care Inspector
SERVE United States Department of Agriculture
AT ADDRESS /Streer or RFD, Apartment No.. City. State and ZIP Code)
c/o United States Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road a
OF Service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (fnciude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

Signature of. De other Originator requesting service on behalf of me TELEPHONE NUMBER DATE
x [((] DEFENDANT (315) 538-8316 March 29, 2021

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

Tacknowledge receipt forthe total {| Total Process | District of District to Signature of Authorized USMS D or Clewk Oe
number of process indicated. Origin Serve igna 0 eputy or Cler! a
(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [7] have personally served , 1] have legal evidence of service, [7] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(CJ Thereby certify and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) Date Time (J am
CJ pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 84 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New Y ork

Carrie M. Leo,
Plaintiff,
-~v-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.z 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ANDREA D'AMBROSIO
UNITED STATES DEPARTMENT OF AGRICULTURE

c/o U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employce of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: __

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 85 of 97

USDA
U.S. Attorney

Note: The following papers have been created to support a choice of two options
- the option in which the USDA, Perdue and D'Ambrosio are included together
on one Process Receipt & Return and one Summons whereas the other option is
serving a copy of both forms tailored specifically for every individual defendant.

If there are any duplicates of any forms, they were printed accidentally and are
included in this set of papers for a backup copy should staff need one.
Case 6:20-cv-07039-FPG Documentié6 Filed
U.S. Department of Justice PROCESS RECIPE AND RETURN

 

 

 

United States Marshals Service See "Instructions for tice of Process by U.S. Marshal"
PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
Summons

New York Department of Environmental Conservation & the United States Department of Agriculture
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN ~ Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and “Johnijane Does 41-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR. DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

United States Department of Agriculture; SONNY PERDUE, Secretary;
SERVE ANDREA D'AMBROSIO, Animal Care Inspector

AT §& Aappress (Street or RED. Avarnnont No.. Civ, State and ZIP Cado)
c/o United States Attorney

138 Delaware Avenue
U.S. Attorney's Office, Federal Centre
Buffalo, NY 14202

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW ‘Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road ———
Or service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

Signature "en other Originator requesting service on behalf of P TELEPHONE NUMBER. DATE
x CG Ja) (1 DEFENDANT (315) 538-8316 March 29, 2021

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

Tacknowledge receipt forthe total | Total Process | District of District to Signature of Authorized USMS or Clerk Date
number of process indicated. . Origin Serve em mm Deputy

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [[] have personally served , [7] have legal evidence of service, [] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[1] Uhereby certify and retum that Iam unable to locate the individual, company, corporation, etc. named above (See remarks below}
Name and title of individual served (ifnot shown above) Date Time (] am

C] pm

 

 

 

Address (complete only different than shown abave) Signature of U.S. Marshal or Deputy

 

 

Costs shows on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 87 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-y..
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No. 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN ~ Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

United States Department of Agriculture; Sonny Perdue - Secretary; and Andrea D'Ambrosio -
Animal Care inspector
UNITED STATES DEPARTMENT OF AGRICULTURE

To: (Defendant's name and address)

138 Delaware Ave.
U.S, Altorney’s Office, Federal Centre
Buffalo, NY 14202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Cc 6:20-cv-07039- j
U.S. Department ofdustice FPG Document 16 Filed PROCESS RECEIPT AND RETURN

 

 

 

United States Marshals Service See "Instructi ervice of Process by U.S, Marshal"
“PLAINTIFF i 7 ~ ~ 7 COURT CASE NUMBER. a
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New York Department of Environmental Conservation & the United States Department of Agriculture Summons
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint

Commissioner, SONNY PERDUE ~ Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO ~ USDA Animal

Care Inspector and “JohnjJane Dogs 41-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

United States Department of Agriculture

 

SERVE ADDRESS /Streer or RFD, Apartment No.. City. State and ZIP Cade)
AT c/o United States Attorney
138 Delaware Avenue
U.S. Attorney's Office, Federal Centre
Buffalo. NY 14202

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW ‘Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road served in this case
Walworth, NY 14568 Check for service
onUSA.

 

 

SPECIAL INSTRUCTIONS OR. OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

Signature of Attorney cther Originator req ting: service on behalf of: TELEPHONE NUMBER. DATE
x ‘ea ; ( DEFENDANT (315) 538-8316 March 29, 2021

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

acknowledge receipt for the total | Total Pracess | District of District to Signature of Authorized USMS or Clerk Dat
umber of process indicated. Origin Serve ° Pepe °
(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I [7] have personally served , [1] have legal evidence of service, [7] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(C1 Thereby certify and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time C) am
C] pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 89 of 97

AO 440 (Rev 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
Vv
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.z
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN ~- Director, Special Licenses Unit, ANDREA
D'AMEROSIO - USDA Animal Care Inspector and “John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) UNITED STATES DEPARTMENT OF AGRICULTURE
138 Delaware Ave.
U.S. Attorney's Office, Federal Centre
Buffalo, NY 14202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: __

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 90 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
~V-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.: 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
wl-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) UNITED STATES DEPARTMENT OF AGRICULTURE
138 Delaware Ave.
U.S. Attorney's Office, Federal Centre
Buffalo, NY 14202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Carrie M. Leo

3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Documentié6 Fil
US. Department of Justice iled PROCESS RECEP T/AND RETURN

 

 

 

 

United States Marshals Service See “Instructions for Service of Process by US, Marshal"
PLAINTIFF ~ COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS

New York Department of Environmental Conservation & the United States Department of Agriculture Summons

and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS - DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal

Care Inspector and *JohnjJane Doas 1-15

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

Sonny Perdue - Secretary
SERVE United States Department of Agriculture

AT © appress (Street or RED, Avariment No., City, State and ZIP Coda)
c/o United States Attorney
138 Delaware Avenue
U.S. Attorney's Office, Federal Centre
Buffalo, NY 14202

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW ‘Number of process to be
served with this Form 285
Carrie M. Leo Number of parties to be
3199 Walworth Road ——
e: ‘or service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER. INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Avaitabte for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

 

 

 

 

 

Si f ther Origi i ice on behalf of:
ignature 0! Attomey other i service on fof: mM P TELEPHONE NUMBER DATE
ue
x ( LOXD), Y [1] DEFENDANT (315) 538-8316 March 29, 2021
— mo a
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
lacknowledge receipt forthe total | Total Pro District of District to i i
of process indicated. a cess Origin 9 Seno, Signature of Authorized USMS Deputy or Clerk Date
(Sign only for USM 285 if more
than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and retum that I ([] have personally served , [7] have legal evidence of servica, [7] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

[i thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (ifnot shown above) Date Time ([] am
CL] pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
Case 6:20-cv-07039-FPG Document 16 Filed 04/01/21 Page 92 of 97

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-y—
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following
INDIVIDUALS in their individual and official capacities: BASIL Civil Action No.: 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM
POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/Jane Does
#1-15,
Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SONNY PERDUE, SECRETARY

UNITED STATES DEPARTMENT OF AGRICULTURE
138 Delaware Ava.

U.S. Attorney's Office, Federal Centre

Buffalo, NY 14202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employce of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Carrie M. Leo
3199 Walworth Road
Walworth, NY 14568

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: __

 

Signature of Clerk or Deputy Clerk
Case 6:20-cv-07039-FPG Documentié6 Filed
U.S. Department of Justice PROCESS HREEEPY AND RETURN

 

 

 

 

United States Marshals Service See “Instructions for Service of Process by U.S, Marshal"
TTT
PLAINTIFF COURT CASE NUMBER
Carrie M. Leo 20-cv-7039
DEFENDANT TYPE OF PROCESS
New Yark Department of Environmental Conservation & the United States Departmant of Agriculture Summons
and the following INDIVIDUALS in their individual and official capacities: BASIL SEGGOS ~ DEC Complaint
Commissioner, SONNY PERDUE - Secretary, WILLIAM POWELL - Lieutenant/Captain, DEC Division of Law
Enforcement, JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA D'AMBROSIO - USDA Animal
Care Inspector and JJohnjjane Doss #1-15

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

Andrea D'Ambrosio, Animal Care Inspector
SERVE United States Department of Agriculture

AT & anpress (Seer or RFD, Avarmicnt No.. City. State and ZIP Code)
c/o United States Attorney

138 Delaware Avenue
U.S. Attorney's Office, Federal Centre
Buffalo, NY 14202

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
served with this Form 285
Carrie M. Leo ‘Number of parties to be
3199 Walworth Road ee
‘or service
Walworth, NY 14568 onUSA.

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Hours of Operation: Unknown (not found on website)
General Phone # (202) 514-2000
email: attorney.general@usdoj.gov

 

 

 

 

 

Signature of Attorney other Origina questing service on behalf of: Bd P TELEPHONE NUMBER DATE
x CM [] DEFENDANT (315) 538-8316 March 29, 2021
=
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
Lacknowledge receipt forthe total | Total Process | Districtof | District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin. Serve
(Sign only for USM 285 if more +
than one USM 285 is submitted) No. No.

 

 

 

 

 

 

Thereby certify and return that I (C] have personally served , [1] have legal evidence of service, (CI have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

(CJ Thereby certify and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (ifnot shown above) Date Time (J am

[] pm

 

 

 

Address (complete only different than shown above) Signature of U.S. Marshal or Deputy

 

 

Costs shown on attached USMS Cost Sheet >>
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send it to the regional attorney in the same office or should | just send process for all three federal
defendants to the Office of General Counsel in Washington, D.C. and let the attorneys contact each
employee and transmit a copy of process to each?

Also, | have not sent out waiver requests for each party either. Especially since I've cost the Court two
unsuccessful attempts to serve the defendants, | would expect requesting waiver of process by each
defendant would be important. However, when requesting waiver, how long do the parties get in order
to sign and send the waiver into the Court before | should effect service through the Court again, if you
allow me to do so. _ I'm concerned of waiting too long for waivers with the looming deadline for service
already at our doorstep, so to speak.

Because of these questions and a few others | haven't included in this letter, ! felt there were too many
issues and possible exceptions given the circumstances of the pandemic as well as the number and types
of defendants who need to be served, not to request instructions from the Court. The case is also too
important to risk having it dismissed as a result of ineffective process.

Along with this letter, I've sent in updated process receipts and summonses for the defendants as well as
the original complaint for each person. In January, three state defendants have been successfully served
at their place of employment, the Office of the General Counsel at the DEC headquarters in Albany and
one was successfully served at the regional office from which he reports. | respectfully request the Court
reiterate in its order if this was the correct method of service for these particular defendants. It is my
understanding each defendant also needs to be served through the Office of the General Counsel which
requires in-person service of process, if any pandemic changes in rules no longer apply to in-person service
of papers.

Likewise, the federal defendants are to be served through the U.S. Attorney's Office and by way of their
residences or professional offices; the latter of which | explained earlier along with the confusion inherent
in that particular process as well. | also learned recently that the U.S. Attorney General is supposed to
be served as well although they typically don't represent federal defendants, especially in civil cases.

Moreover, | learned from a process server that serving the federal defendants via the USDA's Office of
General Counsel in lieu of serving them via their residences or workplaces, was sufficient. However, when
| attempted to do so, the address was erroneous resulting in unsuccessful service.

Accompanying this letter are updated process receipts and summonses. | also have included the number
of copies of the complaint | think are needed. | am not sure if so many copies of the complaints are needed
or if one copy sent to each unique address is sufficient.

Upon instructions from the Court, | respectfully request your office could serve the defendants one last
time. Please accept my sincere apology for If this is something | must do, please reply in such manner
so | can make sure the defendants are served. My phone number is (315) 538-8316 and email address is
carrieleo15@gmail.com. If writing is the preferred response, my address in the header of this letter is
both that of my home as well as my home office.

It is my understanding that the last day to serve parties to this case is April 4, 2021. Therefore, |
respectfully request an extension of time to serve the defendants to May 4, 2021 from the Court as well

as a similar extension to respond to the DEC's Motion to Dismiss.

A table of requested relief has been provided below so all requests are together making it easier for the
Court to reference, if needed.

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1. | Extension of Time for Serving Process;
2. | Extension of Time for Plaintiff to Respond to Defendant DEC's Motion to Dismiss;
3. | Order incorporating instructions on serving process for each defendant:

 

e| Method of Service for each state and federal defendant and their counsel (in-person v. USPS certified)

 

e| Location at which to Serve each federal defendant directly (residence or workplace);
State defendants have been successfully served at their offices.

 

e| Location of Service for all defendants’ legal representatives (NYS-OAG, US-OAG, US Attorney);

 

e| Number of copies of complaints needed for service of opposing counsel (i.e. Does each person or
agency need a copy of summons and complaint for each defendant or just one?)

 

e| Papers to be served - just summons and complaint?

 

 

 

 

e| Am to send out service waivers pursuant to Rule 4.1? If so, how long does the other side get to sign
and submit the waiver paper(s) before service can be made without waiver?

 

| am sincerely appreciative of the Court's and Clerk's patience in my attempts to serve the defendants and
| apologize for any inconvenience this matter has caused the Court and/or any ancillary staff members in
the clerk's office. | hope this request for instructions and extension as well as another attempt to
effectuate service on all defendants doesn't pose any significant hardship or inconvenience on your office.

enclosures

ce:
VIA EMAIL: Brittany. Haner@ag.ny.gov

Brittany M. Haner, Esq. | Assistant Attorney General
NYS Office of the Attorney General

Environmental Protection Bureau

The Capitol | Albany, N.Y. 12224

Tel 518-776-2389 | Fax 518-650-9364

Brittany. Haner@ag.ny.gov

VIA EMAIL: Michele.Crain@ag.ny.gov
Michele Romance Crain

Assistant Attorney General of Counsel
NYS Office of the Attorney General
144. Exchange Boulevard, Suite 200
Rochester, New York 14.614

Tel. (585) 546-7430
Michele.Crain@ag.ny.gov

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Sincerely,

 

Carrie M. Leo, Plaintiff pro se

 
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

Carrie M. Leo,
Plaintiff,
-y-
New York State Department of Environmental Conservation & the
United States Department of Agriculture and the following

INDIVIDUALS in their individual and official capacities: BASIL Civil Action No 20-cv-7039
SEGGOS - Commissioner, SONNY PERDUE - Secretary, WILLIAM

POWELL - Lieutenant/Captain, DEC Division of Law Enforcement,
JOSEPH THERRIEN - Director, Special Licenses Unit, ANDREA
D'AMBROSIO - USDA Animal Care Inspector and *John/jane Does
#1-15,

Defendants.

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ANDREA D'AMBROSIO

UNITED STATES DEPARTMENT OF AGRICULTURE
138 Delaware Ave.

U.S. Attarney's Office, Federal Centre

Buffalo, NY 14202

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Walworth, NY 14568

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CLERK OF COURT

Date:

 

Signature af Clerk or Deputy Clerk
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